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TAB A
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ereea EEN CTAB ETT

1241 Bast Main st.
Stamford, CT 06902
Tel: 203 352 8600

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March 9, 2004
Fara D’ Angelo

150 West 47" St., Apt 3H
New York, NY 10036

Dear Fara:

On behalf of World Wrestling Entertainment, Inc., I am pleased to extend the following
offer of employment to you.

 

Title:

Location:

Department:

Reporting
Relationship:

Start Date:

Base Compensation:

Benefits:

Sign-on Bonus:

Vacation:

Confidentiality/
Non-Solicitation
Agreement:

Global Licensing Coordinator

1241 E Main St.
Stamford, CT

Consumer Products Group

Joel Satin, Director, Home Video
and Alex Romer, Director, International Licensing

TBD

$45,000 base salary, which will be paid bi-weekly, in
the amount of $1730.77. You will be eligible for a
salary increase, based upon your performance
evaluation, in calendar year 2005. Our current review
date is June [*,

You will be eligible for full company benefits on the
first day of the month following your date of hire.
Company benefits include: Medical, Dental, Life, LTD
and 401(k) plan. Detailed information regarding the
benefits is included in the enclosed offer packet.

$5,000 less applicable deductions payable on the first
pay date following 30 days of employment. If you
voluntarily terminate employment with WWE within

one year of your date of hire, you must reimburse WWE
100% of your sign-on bonus. Reimbursement is due
within 10 days following last day of employment.

Two (2) weeks vacation and three (3) personal days. See
vacation policy included in the offer packet for more
details.

Enclosed please find a Confidentiality/Non-Solicitation

Agreement to be signed and returned to the Human
Resources Department.

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VV

Post RE set
Dela peag tee bsyiil-)eL ae ble)

This offer is contingent upon clear reference and background checks and satisfaction of
the Immigration Control and Reform Act requirements. Your employment relationship
with WWE, Inc. will be “at will.” This means that either you or WWE can end your
employment at any time, for any reason.

On behalf of World Wrestling Entertainment, Inc., we are very pleased that you have
accepted this offer and look forward to you joining our team. If you have any questions,
please do not hesitate to give me a call at (203) 352-8681.

Please fax a signed copy of this letter to my attention by March 12, 2004. The fax

ree me te = number is (203) 359-5151.
Stamford, CT 06902

Tel: 203 352 8600 .
Sincerely,

Danielle Fisher
Human Resources Generalist

 

Fara D’ Angelo Date

Enclosure

D'Angelo, Fara2.doc

 

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

FARA D'ANGELO,
Plaintiff,
VS. CASE NO. 3:08-CV-1548 (JCH)
Date: January 22, 2010
WORLD WRESTLING ENTERTAINMENT, INC.,

Defendant.

DEPOSITION OF FARA D'ANGELO

The deposition of Fara D'Angelo was taken on

January 22, 2010, beginning at 9:45 a.m., at Wiggin

and Dana, 400 Atlantic Street, Stamford, Connecticut,

before Susan Wandzilak, Registered Professional
Reporter and Notary Public in the State of

Connecticut.

Susan Wandzilak License No. 377
DEL VECCHIO REPORTING SERVICES, LLC
PROFESSIONAL SHORTHAND REPORTERS

117 RANDI DRIVE
MADISON, CONNECTICUT 06443
800-839-6867

NEW HAVEN STAMFORD HARTFORD

 

 
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attorneys.

A. No.

Q. Great. All right, where are you currently
employed?

A. Sherwin Williams.

Q. Is that the same job that you had immediately

after your left WWE?

A. Yes.

Q. How much are you making there?

A. 95.

Q. What is your position?

A. Product manager.

QO. When was your first day there?

A. I think May, May 30, 2006.

Q. Your last day at WWE was what, if you can

recall? Not when you resigned, the last day you

worked.

A. It was two weeks after May 5th, so probably
May 15.

Q. All right, you took two weeks off?

A. No, I took like a week off. There was like a

week between --
MS. GAMBARDELLA: She is going to give you
the original.

(Whereupon, D'Angelo Exhibit No. 1 was marked

 

 
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for identification.)
BY MS. GAMBARDELLA:

Q. Ms. D'Angelo, we have marked as an exhibit
D'Angelo 1. Can you identify this document for us?
Take your time.

A. It's the offer letter I received from Sherwin
Williams.

Q. Very good, all right. So you did receive
this and that is your signature on the bottom?

A. Yes.

Q. And the date accepted looks like April 21,
2006. Can you confirm that for me because you might
have written it.

A. Yes.

Q. All right. So you received this -- when did
you receive this offer? How close to April 20, 2006,
did you receive it to the best of your recollection?

A. Probably a couple of days before April 21st.

Q. Did you know it was coming? In other words,
did you have a conversation with anybody from Sherwin
Williams where they said they were going to send you
an offer?

A. Yes.

Q. Now, bi-weekly salary, it says $2,692.31

cents. How much was that a year?

 

 
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A. It was I think probably 70,000.

Q. I will take your word for it. How much were
you making at WWE when you resigned?

A. I think close to $50,000.

Q. So you were going to get a raise of over

$20,000 a year to start. Would that be correct?

A. To start with Sherwin Williams?

Q. Yes.

A. Yes.

Q. And now you are making 95 a year?

A. Yes.

Q. So you are now making about $45,000 or more a

year than when you left WWE; would that be correct?

A. Yes. I was just promoted.

Q. When were you promoted?

A. Last week.

Q. So you are doing very well.

A. Yes.

Q. How is your performance?

A. Very well.

Q. Has it been very good since you started?

A. Yes.

Q. So you go to work every day. You do a very

good job, correct?

A. This is the second time I was promoted, so --

 

 
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Q. Do you know whether or not your contribution
is about the same, more, or less than it is at Sherwin
Williams?

A. I don't know.

Q. And that's obviously why I need it. Okay, so
we can leave that for now, okay?

A. Um-uh.

Q. Is it accurate to say, again, before we get
to Exhibit 2 that you have lost no wages since you
left WWE?

MR. BOYD: Objection.

BY MS. GAMBARDELLA:

QO. Would that be accurate?
A. That I have lost no wages?
Q. No wages. You have had no wage loss since

the last day you worked at WWE?
A. That is correct. IT owas not out of work.
Q. You have lost no income in terms of salary

Since you left WWE, correct?

A. Correct.

Q. In fact, you are making more?

A. Yes, I am.

Q. Okay. Do you have any other losses out of

pocket that you claim you have experienced since you

left WWE?

 

 
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the question was, Had you consulted with an attorney
about the prospect of suing?

And this is a little bit different of a
question. Did you consult with any legal advisors
about what you claim you were enduring while you were
employed at WWE?

A. I was friends with Cheryl Yamuder, who was
legal, who worked in the legal department for WWE. SO
we never really talked about filing a lawsuit, but she
was someone that was a lawyer and I talked to her
about what was going on. So I guess yes to your
question.

Q. Do you know why you don't reference those
conversations in your CHRO affidavit?

A. I don't really see the relevance.

MS. GAMBARDELLA: Can you read back the

question, please.

(Whereupon, the question was read back.)

BY MS. GAMBARDELLA:

Q. Is it because you think those conversations
are irrelevant?

MR. BOYD: Objection.

THE WITNESS: Yeah, I mean, I wasn't —--

originally when I left the company -- I am not

really sure what your question is or what you're

 

 
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A. I think I read it on April ist, '04.
Q. What was your understanding of the content of
this document?
A. I mean, it seems like a pretty standard legal

document. You are signing a lot of papers when you
walk in the door, so ~--

Q. But you read it, right?

A. Yeah, I read it.

(Whereupon, D'Angelo Exhibit No. 6 was marked

for identification.)

BY MS. GAMBARDELLA:
Q. Just keep that handy, the policy too.
A. Um-uh.

MS. GAMBARDELLA: Okay. And don't walk
off -- you can keep this on the record. People
sometimes scoop up everything and walk out the
door and exhibits go out the door. So just make
sure you don't do that, okay?

MR. BOYD: I missed what you said.

MS. GAMBARDELLA: No, all I said is she has
got all the exhibits in front of her and what
sometimes people do when they leave is they scoop
everything up that is in front of them and walk
out the door. I've had that happen.

MR. BOYD: You can mark any of these or mess

 

 
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nobody that ever went to a sexual training course.

Q. Were you a member of management?

A. No, but I knew people that were. And it was
pretty much common knowledge that sexual harassment
was kind of thrown out the window being that senior
management were involved with sexual harassment
charges.

Q. So you have never seen me there giving
training after training after training?

A. Never.

Q. Okay, so let's put that aside.

And did not tender an employee handbook to
our client at any time; do you see that?

A. Yeah, I don't remember getting the handbook.

Q. Well, this doesn't say you don't remember.
It says we didn't give you one.

MR. BOYD: Objection.
BY MS. GAMBARDELLA:

Q. Am I right? And did not tender an employee
handbook at any time. Do you see that?

The only question on the table is, do you see
where I am reading from?

A. Yeah.

Q. Now --

(Whereupon, D'Angelo Fxhibit No. 7 was marked

 

 
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for identification.)
BY MS. GAMBARDELLA:

Q. Exhibit 7 is Bates stamped P 0110 to 0121. P
means, Ms. D'Angelo, your counsel produced it to us,

okay? And this is an employee handbook; is it not?

A. Yes.
Q. Is it something you received at WWE?
A. Probably was in my welcome packet.

So you got a handbook?

BO

Yeah, I probably did.
MR. BOYD: Objection.
BY MS. GAMBARDELLA:
Q. Your answer is you did or you probably did?
I didn't hear that.
A. I mean, I don't remember it, but it was

probably included in the welcome kit, so --

Q. When is the first time you gave your
counsel -- and this is just state and it doesn't have
to be exact -- any documents in connection with this

case? Documents you had in your possession that you
gave to your lawyers, when was the first time that
happened? Because I am assuming you gave him this,
Exhibit 7.

A. I know I probably -- I gave him the stack of

e-mails and everything initially when we first signed

 

 
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Q. And the handbook that we just marked is P
1102121, so it's within this number range, correct?

A. Yes.

Q. All right. Now, this response is dated June
23rd of '09, okay? Does this help you estimate in
time when for the first time you gave your attorneys
any documents in this case? No conversations, no
communications. When? Chronology.

A. I really don't remember when I gave him the
documents.

Q. Good enough. Fair enough.

Did you ever report your complaints about
Alex Romer to anybody in human resources before the
end of your employment when you were resigning? In
human resources.

A. I did not being that I had --

Q. I didn't ask you why yet. We are going to
get there, okay?

A. Okay.

Q You did not, correct?

A. Correct.

Q Did you ever ask anybody at WWE to report to
human resources for you your complaints about Alex
Romer?

A. I was afraid of losing my job.

 

 
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MS. GAMBARDELLA: Let's read back the
question.
THE WITNESS: So I did not ask anybody.
MS. GAMBARDELLA: Okay, that's the answer.
Very important. Not the question you wanted me
to ask, but the question I asked. All right, and
we will get there.
BY MS. GAMBARDELLA:
Q. You did not ask anybody at WWE to report your
allegations for you to human resources, correct?
A. Correct.
Q. Tell me if you are aware of anybody while you
were employed at WWE who reported any complaint to

human resources and subsequently got fired?

A. Yes.
QO. Who?
A. I don't remember their names, but I have

heard of someone that was complaining of sexual
harassment and they ended up getting fired. That was
one person. I --

Q. You don't know anything about the name?

A I don't remember their name.
Q. Who told you?
A

They were not in my department.

tO

Who told you?

 

 
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A. It was, it was just chatter that was going
around the office. It was more than one. I have
heard --

And then also Cheryl told me that she went to
HR with something that was going on with her. She
confided in HR and told them what was going on with
her boss. And then in the end they ended up using
that against her.

HR ended up telling her boss what she
confided in them and basically used it against her.

So there was no trust between the employee and HR. So
I basically learned from her experience and then also
from the other people that had charges against WWE for
sexual harassment that there was --

Obviously, I didn't feel comfortable going
with my case because I felt that I would be
jeopardized as a result of what information I would
tell them.

QO. So let's set aside Ms. Yamuder for a moment.
You can't think of the name of one person who got
fired nor the name of one person who told you somebody
got fired after a complaint. Do I have that right?

A. I don't remember the name of the person that
got fired, but it was also -- it was common

knowledge. I mean, Vince McMahon was being charged

 

 
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with sexual harassment.
Q. By who?
A. One of the talent, one of the wrestlers.
MS. GAMBARDELLA: Can you read back the
question, please?
THE WITNESS: So, there was -- it was
multiple cases that were going on.
MS. GAMBARDELLA: I need her to read back the
question.
(Whereupon, the question was read back.)
THE WITNESS: Yeah, I don't remember the
name.
BY MS. GAMBARDELLA:
Q. Not one?

A. If I think long and hard, maybe it will

come.
Q. Well, this is the time to do it.
A. Believe me, I have been trying to think of
that person's name. I know that female was -- she

obviously wasn't in my department, but --

Q. What did she look like?

A. She had long blond hair. I don't remember
her name.

Q. Did you take any notes of these conversations

that you had with people who allegedly it was common

 

 
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knowledge among that people got fired after they

complained of sexual harassment?

A. Did I take notes?

QO. Did you take notes?

A. No.

Q. But you have notes of other events during

your employment, correct?

A. Yeah, because that was -- it was happening to
me, so It was trying to remember everything. There is
only so much that I could remember, so --

Q. But you never took a note at any time about
any of these other conversations that you had?

A. Well, some of it is public knowledge. I
mean, Vince McMahon's charges are all over the
Internet so that's public knowledge.

Q. Tell me where on the Internet you saw Vince

McMahon was charged with sexual harassment.

A. Where on the Internet?

Q. Yes, where on the Internet.

A. If you do a Google search, you will see that
he has been -- people have made claims against him for

sexual harassment.
Q. When? When did they make claims against him
for sexual harassment?

A. A couple of years ago.

 

 
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QO. Who?

A. I know it was one of the wrestlers from the
talent.

QO. You don't remember the name?

A. No.

Q. Who else?

A. It's like Tory -- it's not Tory. I forget

her name.

Q. Are you talking about the wrestling rag
sheets online? What's commonly referred to as a rag
sheet?

A. I don't know what websites it is, but there
is a few.

Q. Okay, so is that your way of telling me, no,
I didn't take any notes of any of these conversations
I had about other people getting fired?

A. I mean, I didn't write it down, but --

Q. That's a great answer. No, I didn't write it
down. Okay.

A. No, I didn't.

Q. Okay, fine. When you finally -- strike
that.

And we are going to get to this in more
detail. But when HR did get your allegations at the

end of your employment, Alex Romer got fired, right?

 

 
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A. Yes.

Q. And you were told before you left WWE
physically that he had been fired, correct?

A. Yes.

Q. And were you offered an opportunity to stay
employed by WWE?

A. Yes.

Q. Making more money than you were then,

correct?

A. Yes.

Q. And you turned it down, correct?

A. I turned it down because at the time, my -- I
was humiliated, embarrassed of what had happened. And

my reputation was pretty much tarnished, so I felt
that it would be better to cut my losses and start
over at an organization as opposed to having to stay
there when already it was out that everybody knew that
Alex got fired and Fara is resigning.

People put two and two together. So because
of the situation, I felt it would be a better move for
my career if I left the company.

Q. Ms. D'Angelo, did you tell any of that to
anybody when you turned it down?
A. I don't remember. There was a lot going on

when I resigned.

 

 
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Q. Isn't it a fact that when you were offered a
job at a higher salary to stay, you said, The commute
will be better for me and I will have better
opportunities for advancement at Sherwin Williams?
Isn't that what you said?

A. I don't remember saying that. I mean,
obviously the commute was better.

Q. Right.

A. But I was willing to move my life and live in
Connecticut to work for that company because I was
very focused and I wanted to succeed at that company.

Q. So you assumed that it would be better for
you because you assumed your reputation would be
ruined?

A. Well, my reputation was ruined when I
resigned and it came out with the fact that my direct
report was sexually harassing me.

Q. How waS your reputation ruined?

A. I don't think too many people would want to
work with somebody that is saying that their direct
boss was sexually harassing them.

Q. How do you know that?

A, As a female, I just felt very uncomfortable
with the whole situation.

Q. After it got reported to HR, did anybody

 

 
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treat you differently at WWE?

A. Well, I was only there for like a week, week

and a half.

Q. So did anybody during the week treat you
differently?

A. Yes.

Q. Who?

A. Well, everybody. Iwas --

Q. Name one. Give me names. I need names.
Everybody. Name one person who you contend knew that
you complained -- let's change the question -- and

treated you differently because of it? One.

A. Treated me differently, I will define that as
there was a lot of sympathy. And it just -- it felt
like people pitied me that -- because I was, I was

very emotional that week after what was going on.

Q. Is that a bad thing that people felt badly
for you?

A. I would -- I mean, that's not how I want to
be viewed as a professional. I am trying to grow in
my career. I don't want people pitying me.

Q. Ms. D'Angelo, how do you know that that would
have lasted throughout your career? I mean, you told
me it was a one-week interim period. You were very

emotional and people pitied you. How do you know that

 

 
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the pity, quote-unquote, would have continued had you
stayed?

MR. BOYD: Objection. I'm sorry.

MS. GAMBARDELLA: That's okay.

THE WITNESS: I don't know. I just assumed
that because of what I went through that my
future career at that company would be very
challenging.

BY MS. GAMBARDELLA:
Q. Right. So that was my original question.

You assumed.

A. Yes, I had no other -- nothing else to base
it upon.
Q. Right, okay. Did you also tell HR that you

were making so much more money at Sherwin Williams
that you would not consider staying, that that was one
of the reasons that you would not consider staying?

A. The offer I got at Sherwin Williams was more
than what WWE was offering me.

Q. All right, that wasn't my question. My
question was, did you indicate to anybody in human
resources that another reason you would not stay --
that a reason you would not stay at WWE is because you
were being offered more money at Sherwin Williams?

A. Like I said, it was -- for me I felt it was a

 

 
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Q. Okay. Can you go to paragraph 18 and just
review it to yourself. Is that an accurate
description, more or less, of your primary job

responsibilities at WWE?

A. Yes.
Q. Did you always report to Mr. Romer?
A. Yes, there was a period where I was reporting

to Alex and Joel Satin.
Q. Do you remember what period that was?
A, I think it was when I originally started.

Q. Okay. And then that changed?

A. Yes.

Q. All right. Do you remember about when that
changed?

A. No.

Q. All right. Did you have any reporting
relationship with Joel Satin -- or you said Mike

Archer was the other person?

A. No, I reported -- when I started, I believe I
reported to Alex Romer and Joel Satin.

Q. I've got it, okay. Did that ever change that
you had a reporting connection with Joel Satin? In
other words, did there come a time after you started
that you no longer had a reporting relationship with

Joel versus Alex and Joel?

 

 
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A. Yes, when I first started, I was working for
Alex and Joel reporting to both of them. And then I
don't remember when, but I no longer reported to Joel
so I was just reporting to Alex.

Q. All right. And when about did that happen;
do you know?

A. I don't remember.

Q. Okay, fair enough. Did you have a reporting

relationship with Donna Goldsmith?

A. She was not my direct report, so she was
above -- she was Alex's boss.
Q. Did your job duties generally require you to

interact with Ms. Goldsmith?

A. Not on a daily basis.

Q. Did you interact with her occasionally?

A, Occasionally, on meetings, yeah.

Q. Okay. So if you had to give an average, on

average, how often would you interact directly with

Donna Goldsmith?

A. Percentage you are looking for?

QO. On average, once a month, twice a month?

A. Maybe once or twice a month.

Q. Okay. Were you aware at any time while you

were working at WWE that Ms. Goldsmith was not

completely satisfied with your performance? And by

 

 
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the way, I am not restricting it to something she told

you directly. The question is did you ever learn?
A. That she was not happy with my performance?
Q. That she was not completely happy with your

performance or she had issues with aspects of your
performance?

A. No.

Q. Isn't it true that Mr. Romer on a few
occasions intervened for you with Ms. Goldsmith?

A. In what respect?

Q. To help Ms. Goldsmith understand that you
were a better employee than she thought you were?

A. Yes, he actually -- he told me that he had --

Q. Go ahead.
A. He had told me that he had put his dick on

the line for me on multiple occasions.

Q. Did you believe him?

A. I guess. Iomean, not reaily.

Q. You don't have to guess. You didn't believe
him?

A, Did I believe him?

Q. You thought he was lying about that?

A. I took it for what it was worth. I just

listened to what he said.

 

 
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Q. What did you think he meant?
A. I guess putting your dick on the line would
mean that he went to bat for me?
Q. Right. Did you have an understanding of why
he would have had to do that?
A. Well, he told me that it was because he was
trying to get me promoted.
Q. Did you believe him?
MR. BOYD: Objection.
MS. GAMBARDELLA: What's the objection?
MR. BOYD: You asked it and she answered it
already. Twice I think.
MS. GAMBARDELLA: I am not sure it was the
same question, but I will take it at face value.
BY MS. GAMBARDELLA:
Q. Did you believe that he was trying to help

you get promoted?

A. Did I -- I mean --

Q Not today. Then. Did you believe it?

A I guess I might have.

Q. Okay.

A But it never really happened. And he was

telling me that for so long, so I started to really
lose faith in what -- I never really -- I didn't

believe what he was saying because he was saying it

 

 
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for so long, so how long does it take --
Q. So you believed him, but at some point you
stopped believing him because it wasn't happening?
A. Right. I might have believed him in the

beginning, but then towards the end I wasn't getting

anywhere.

QO. Right.

A. So I felt that maybe he was just -- you know,
they use the term blowing air up your skirt. Maybe

that was what he was doing.

Q. Right. I understand that. Isn't it a fact
that what he told you was that he thought you should
get promoted but Ms. Goldsmith didn't?

A. I don't recall that.

Q. Do you know what Ms. Goldsmith's opinion was

of your promote ability while you were at WWE?

A. No.

Q. Mr. Romer never discussed that with you?
A. No.

Q. Did you ever get reprimanded at WWE for

flirting with talent? And I am not asking if you
agree with it. It's very simple. Did you ever get
reprimanded, whether you believe it was the right
thing to do or not, by anybody at WWE for flirting

with talent?

 

 
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A. Could you define reprimanded.

Q. Told to stop it, knock it off kind of thing.

A. Well, I was pulled out of a bar by my neck
and told that I shouldn't be in the bar at that hour
with some of the wrestlers.

Q. Isn't it a fact, Ms. D'Angelo, that you were
also told that people got the impression you would get
too close to or cosy up to talent and that was not
something they wanted you to do?

A. Yes, that's what Alex told me. He was afraid

of the image that people would perceive me as.

Q. Did he elaborate on what image he was worried
about?
A. He didn't -- well, not really. He just

didn't want people to think that I was always with the

talent.
Q. Flirting.
A. Yeah.
QO. Right.
A. However, I was not the only corporate person

in the bar.

Q. I didn't ask you that, okay? Now, in your
complaint you say, paragraph 19: The formal reviews
of plaintiff's work performance were always

satisfactory or better throughout her employment at

 

 
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WWE.
Do you see that?

A. Um-uh.

Q. So is that true? I mean, you told me you
approved this before it was filed and it was accurate,
remember?

A. Yes. I never received a performance review
that said I was a horrible employee.

Q. I didn't ask that. Your allegation in the
complaint is that your reviews were always
satisfactory or better throughout your employment. Is

that an accurate statement?

A. Yes.
Q. So earlier today I asked you about whether or
not your performance basically -- your reviews were

basically pretty good. And you thought so. SO now we
can confirm that it's accurate. Your work performance
reviews were always satisfactory or better, correct?

A. Yes.

Q. Now, paragraph 23 says you met with Romer on
numerous business trips.

A. Right.

Q. How many business trips did you meet up with
Alex Romer? This doesn't talk about meetings, its

business trips, okay? How many times?

 

 
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A. Well, approximately three or four trips to
Rurope --

Q. Is that numerous?

A -- is what I can recall.

Q. Okay.

A Well, numerous -- at a time you're spending

7 to 10 days with a person, so if you put it together,
that's 30 plus days.

Q. Well, that's not what this says. It says
numerous business trips, not numerous days. So IT just
want to make sure we are getting the same --

MS. GAMBARDELLA: Would you like to take a
break while you go out and decide that you are
done laughing?

MR. BOYD: Do you want me to take a break to
laugh for a second? [I'll walk out and Laugh --

MS. GAMBARDELLA: Yeah, go right ahead
because that is probably not a professional thing
to do during the deposition -- to have a lawyer
laughing.

MR. BOYD: Well, Mary, you have been rolling
your eyes. Everybody is an advocate here. If
you want to take a big deal and make this into a
big deal, I'll step outside and laugh. If you

want me to stay here, I'll stay here.

 

 
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But let's not try and turn this into

something that requires,

you know, this much

discussion. I don't think it's essential.

MS. GAMBARDELLA: Well, I understand why

you're uncomfortable with it. I just want to get

it clear --

MR. BOYD: Yeah, because you're splitting

hairs over whether it's numerous or not. Three

to four is defined as numerous if you want to

pull out the dictionary.

But I don't really see

that it's a useful expenditure of time.

MS. GAMBARDELLA: Well, then I will have to

think about that later and --

MR. BOYD: I'll welcome your consideration of

it later if you wish.

BY MS. GAMBARDELLA:

QO. When you allege numerous business trips, are

we talking about the three to
are we talking about numerous
together with him? I am just
complaint straight.

A. I am assuming that I

trips to Europe.

four business trips or
occasions you were

trying to get your

was referring to the

QO. The three to four business trips?

A. Right, but then there was also trips where he

 

 
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came to the U.S., so --

Q. Well, those -- okay, got it. Okay, tell me
how Mr. Romer started to sexually harass you.

A. Well, there was constant communication of
e-mails to my personal account which I submitted,
instant messengers, phone calls during the off hours
of the business day, phone calls when he was drunk
calling my cell phone, invitations to dinner, him
inviting me to vacations with him. Just the two of
us. Should I go on?

QO. Yes.

A. Other instances where physical contact of him
touching me in my lower, my lower waist, my hair,
caressing my face, him putting his arm around me. I
mean, there was multiple instances where he touched me
inappropriately and unprofessionally and the constant
communication and more of a obsession that he had with
me where he was -- always needed to know where I was
and felt the need to express how he personally felt
about me.

Q. Tell me all the places he touched you?

A. Like I said, he touched my lower back.

Q. Put his hand around your waist, lower waist?
A. Lower waist close to -- above my rear end.
Q. How many times did he do that?

 

 
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A. About two or three times.

Q. And where else did he touch you?

A. He caressed my face. He, you know, petted my
hair. He, you know, would speak very closely when he
would try and talk to me. It was very different from

when he would talk to his boss or any other females.

It was always with me he was right about two inches

away from my lips.

Q.
caressed
A.
Q.
A.

Q.

Well, let's stick with touching, okay? So he
your face how many times?

That happened once in a cab.

How many times did he pet your hair?

I think twice.

Was one of the occasions he pet your hair the

same time that he caressed your face?

A.

Q.

ned

Q
A.
Q
A

in, hold-

couldn't

grasp on

Yes, yes.

The same incident?

Yes.

Where else did he ever touch you?

He put his arm around me multiple times.

Your shoulder?

Yeah, but it was more like a close bring-her-
me-very-close-to-him. And I felt like I

get away from him because he had a tight

me.

 

 
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QO. Where else?

A. He practically, I felt, almost kissed me
like, kissed me like right here in April of '06. And
that was really like -- that was, that was really like
the last straw.

I was very scared for myself at that point
because I was afraid that he would tell the hotel
concierge or something and try and do something that
-- he was very good at kind of making up stories.

So I -- when he said good night to me that
night, he gave me a hug and a kiss like right here and
I got scared and I went to my room and I was nervous
that he was going to talk to the concierge or someone
saying that he needed to get into my room for some
reason and like come -- I don't know, and get me. I
was having a very anxious moment.

I ended up leaving the hotel two hours Later,
which was like 3:00 or 4:00 in the morning because I
wanted to just get away from him. And I was actually
scheduled to leave at like 9:00 in the morning. So I
sat at the airport for like five hours. But I was
very scared at that moment. That was a really bad --

Q. What trip was that? Where was that?

A. That was -- I was actually in Dublin.

QO. That was in April of '0O6ish?

 

 
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A. Yes.

Q. Okay. Just sticking to touching. I know
there is a lot of e-mails.

A. Okay. And then there was dinners. He would
invite me out to dinners.

Q. Touching. Stick to touching right now.

A. Well, I would be at dinner with him. And he
would, you know, sit very closely and put his hands on
my hands. And it was very awkward and uncomfortable
for me, being that I was -- I felt more that I was on
a date with a guy that was in love with me as opposed
to being at a business dinner with my boss. And that
was in 2005.

So the hand. There was a -- the point where
he put his arm around me once again was when I was in
Europe and interviewing one of the talent. And Alex
ended up pulling me away from one of the wrestlers and
put his arm around me and was just, I just want to

talk to you, and pulled me very closely.

And I actually -- I said to him, you don't
have to touch me in order to talk to me. Just don't
touch me. And Joel Satin was right there so he

obviously witnessed that.
And then there was another incident where it

happened in April '06 when I was at a bar with a whole

 

 
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bunch of other corporate executives. We were all
sitting at the bar and Joel and Curt Schneider were
trying to go upstairs to go to bed. And I got up
because I wanted to go in the elevator with them and
go to my room. And Alex grabbed my wrist and

pulled -- was trying to pull me back down so that I
would sit and stay next to him because he didn't want
me to leave.

So he had my wrist and was like pulling it.
And it was obviously very uncomfortable. And
everybody was just looking like, What is he doing, you
know. She is just trying to go back to her room.

So then I pulled away and I got in the
elevator with Joel and Curt and they both said to me,
What the hell was that about? And I was just -- I
said, Well, that's Alex for you.

And, you know, obviously they knew that that
situation was not appropriate. And we ended up -- I
ended up going -- riding up the elevator. We dropped
Joel off and then I stopped on the floor with Curt at
his floor and we had a conversation. Then I ended up
getting back into the elevator. And when I got to my
floor, Alex was standing right at the elevator bank --

Q. Okay.

A. -- and was screaming at me, Where did you

 

 
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go? What happened? What took you so long to get to
your floor?

And I was just like, Why are you stalking
me? Number one. And at that point he said, Let's go

to your room.

I said, We are not going to my room. IT am
going to my room. You are not. And he was just like
I just need to talk to you. He was very flustered and

upset at that point. He was upset at the fact that I
wanted to go to my room and not stay down there and
hang out and drink with him.

That was another thing. He often pressured
me to like have drinks with him and spend time with
him. And he always wanted to spend time and get to
know each other and that kind of thing. And I really
-- I was very focused. I wanted to just do my job and
be a professional employee and be recognized for my
achievements.

Q. And throughout all these incidents, you never
went to HR? I know you had a reason. IT am just
asking, you never went to HR?

MR. BOYD: Objection.

BY MS. GAMBARDELLA:
Q. Right? You can answer.

MR. BOYD: I objected. You can still

 

 
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answer. I am sorry.

THE WITNESS: Yes, I did not go to HR. I did

not feel comfortable.
BY MS. GAMBARDELLA:

Q. Okay. Do you believe that you did anything
to suggest to Mr. Romer that you were fine with some
of the ways he was talking to you? Let's set aside
the touching for now, okay? And then we will revisit
that.

Do you ever think you did or said anything to
him to suggest that you were not offended and in fact
were okay with the way he was conducting himself or
communicating with you via e-mail?

A. I addressed the way that he would talk to me
with him and I never felt that I got anywhere. It was
more about -- when I would address it, he would, you
know, go into a big tirade of how important I am to
him and how special I am and how, you know, he is
doing all that he can to help me grow and I was the
most important thing for him.

And I would get a long, detailed tirade of

how great I am and how special I am to him and he

would not want to lose me. So it was a lot of
information I didn't really want to hear. So when I

addressed it, I was -- you know, the things that were

 

 
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really wanted to go down.

Q. All right, I got lost. My question was, Do
you think. you did anything in your communications with
Mr. Romer that would convey to him, that could convey
to him you were okay with the banter? Is that a
better way to put it? Do you think you did anything?

A. Not intentionally.

MS. GAMBARDELLA: Let's mark this.

(Whereupon, D'Angelo Exhibit No. 11 was

marked for identification.)
BY MS. GAMBARDELLA:

QO. Take your time. If you need to read the
whole thing, read the whole thing, okay?

Exhibit 11 for the record is an e-mail
stream. July 15, 2005, it starts and going forward
through July 22, 2005.

And just let me know when you are ready.

Yes, that's a good idea. It's Bates

D 00000850851852.

BY MS. GAMBARDELLA:

Q. Have you had an opportunity to read the
e-mail stream or are you still working at it? It's
fine if you are.

A. Just two more seconds?

Q. Sure, not a problem.

 

 
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Are you set?

A. Yes.

Q. Do you remember this e-mail stream? You
might not. I mean, we are going to 2005.

A. T am just reading it.

Q. Obviously, it goes in reverse order. So if

you have to start at the back at 852, the third page,
because that's the first one, July 15. And it looks
like you are sending him images of Orton's tattoos?

A. I was actually -- I was sending that to
someone else.

Q. To Sam Topley. And then Sam Topley says, You
are a star. And then you keep going forward and then
there's e-mails with you and Alex.

A. Right.

Q. And it looks like, tell me if I am wrong, you

are forwarding to him Mr. Topley's comment, You are a

star?
A. Yes.
Q. And you say, See below, awe. And that's a

little smiley face, right? I am too old. I don't
know how to make those smiley faces. But that's
supposed to be a smiley face, right?

A. Yes.

Q. And then Mr. Romer says, Stop drooling over

 

 
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the tattoos. And then you say, Stars like tattoos.

Right?
A. Yes.
Q. And then first-hand knowledge, he says as a

question. And then you go on, Yes, I really should
get my third soon. So, now, what are you suggesting
there?

A. This is what I was talking about. This is
the type of conversation that -- where I feel that I
was appeasing him to just instead of really -- you
know, not engaging in this type of conversation with
him.

I am more appeasing him just to as opposed to

kind of stirring up more of him being obsessive with

me. Or it's just kind of like I am going down his
road of communication. Not that I wanted to, but I
did.

Q. Sure. But that wasn't my question. My

question is what were you talking about here? I
should get my third soon. Are you talking about

tattoos?

A. Yes.
Q. Do you have tattoos?
A. Yes.

Q. Did you get a third?

 

 
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A. No.

Q. You thought it was appeasing him to tell him

that you might get a third tattoo?

A. Yeah, it's where the conversation was going.
Q. But that was to appease him?
A. Yes.

Q. Okay. Then he says: First-hand knowledge
that our stars like tattoos? I hope not. And then
you say no, that's not what I am saying. So you're
continuing the conversation, correct?

A. Well, he misinterpreted what I was actually
trying to say.

Q. I understand. My question is you were

continuing the vein of the conversation, right?

A. Yes.

Q. Okay. Then you say, No, that's not what I
meant. Meant to write star. That's you, in quotes,
right?

A. Right.

Q. Likes tattoos. You thought it was appeasing

to tell him that you like tattoos. Would that be
correct?

A. Yeah, I was just --

Q. And then he says, Aw, thought you were being

a naughty girl again. And there is that smiley face.

 

 
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And you respond: Never stopped.
What does that mean?

A. That's just -- it's just the way that I ended
up talking with him. Because if I spoke with him,
letting him know every time that he talked to me was
offending me, I wouldn't get anywhere.

Q. So you flirted with him?

A. Someone might read that to think that I was
flirting with him, but it was more of me just trying
to keep things quiet so I didn't have to hear a long
tirade of how special I am and how great I am to him
and important and how much he loves having me work for
him.

Q. So if I understand you correctly, in order to
prevent him from going on and on about how much he
loves having you and how great you are, you flirted
with him?

MR. BOYD: Objection.
BY MS. GAMBARDELLA:

Q. Do I have that right?

A. It's not flirting with him.

Q. You don't think if somebody says, I thought
you were being a naughty girl, and you say, I never
stopped, that's not flirtatious?

A. It's me just appeasing his humor.

 

 
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(Whereupon, D'Angelo Exhibit No. 12 was
marked for identification.)
BY MS. GAMBARDELLA:

Q. Exhibit 12 is an e-mail stream Bates stamped
D 50706 and 707. And it's an e-mail stream which
looks to be dated December 20, 2005, and December 21,
2005, between you and Mr. Romer. Do you remember this
communication?

A. Yes.

Q. It starts with -- in the back, it's from him
to you on December 20th. Why did you tell me it was
girls only then?

Do you know what communications preceded him
asking you that? Do you know what that was about?

A. I don't really remember.

Q. Were you having a conversation or
communication with Mr. Romer where you were discussing
your social activities at any point in time?

A. Yes, oftentimes he would try and get -- he
would ask me information about my personal life, so
these e-mails are perfect examples of him trying to
find out what I am doing on the weekends, who I am
going on trips with, how am I paying for these trips,
what -- you know, he would get very involved in my

personal life. So yes, he is asking about --

 

 
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Q. So you answered him?
A. Well, if I told him I thought he was not a
great person, it was -- I don't know how I say this.

It was easier for me or better for me to answer him
than tell him how I really felt because, number one,
he was my boss and if I told him how I really felt, I
probably would have gotten fired. So I was trying to
keep my job, so --

And, two, I didn't want to hear his long
tirade of how special I was every time he acted
offensively or inappropriate to me.

Q. So why don't you just lie to him and say, I
don't have plans? Why did you get involved with a
communication --

A. Because he was very persistent. And
oftentimes he would ask me about my personal life.
And I would tell him -- I would try and deflect it and
turn it into, let's talk about work. T have so much
work to do, let's focus on that.

Oh, no, no, no. Let's like -- he would try
and change the subject and talk about my personal
life. He was more interested in what was going on in
my personal life and who I was dating as opposed to
what was going on in the business.

Q. So why didn't you lie, make something up?

 

 
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A. Meaning what? Tell him I had no plans.

Q. Yeah, why didn't you do that?

A. I have lied to him on multiple occasions.

Q. Why didn't you say, I was sick, I didn't go
out?

A. Because he would then continue and try and

get me to continue having a conversation about what
was going on. So sometimes I did lie. I didn't tell

him the truth every time.

Q. You didn't lie here, right?

A. Here he kept pursuing me about what this trip
was and ~-

Q. Well, but -- okay, so you say to him, It is

girls, but that doesn't mean I won't meet anyone.
Why did you say that? Why did you add, It is
girls, but it doesn't mean I don't meet anybody.
A. I don't know why I wrote that.
Q. And then he says, Right. How do the great
looks pay for the trip then?
Do you know what he is talking about? Did
you and he have a conversation about how you were

going to pay for your trip?

A. No.
Q. Are you sure?
A. Yeah.

 

 
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And then you say, Don't worry about it.

Q.

A. Yes, that's me.

Q. What does that mean?

A. Iam trying to stop talking about this
because I don't want to continue this conversation and
he is trying to press.

Q. Isn't it true that leading up to these
communications you tell him you only have $36. You
are going on a trip and you only have $36. And right
on the heels of telling him you might meet somebody,
he says, Well, how are you going to pay for your trip
basically with $36? And you Say, Don't worry about
it.

A, I don't remember if I told him I had $36.

(Whereupon, D'Angelo Exhibit No. 13 was
marked for identification.)
BY MS. GAMBARDELLA:

Q. This is documents Bates stamped Defendant's
590660 to 663 for the record. It's an e-mail stream
Somewhat that overlaps with Exhibit 12. Same dates,
December 20, 2005. Starting -- let's start from the
back, okay?

MR. BOYD: Hey, Mary, I hate to do this.

Once you are finished with this document, if you

could let me step out. My wife happens to be

 

 
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pregnant and I have logged four messages here, so
I just want to check and make sure everything's
okay.

MS. GAMBARDELLA: I will finish with this and
we will break for lunch.

MR. BOYD: That's fine if you like. Or if
you just want to give me a break after you're
done --

MS. GAMBARDELLA: That makes more sense.

That makes more sense.

MR. BOYD: I just want to --

MS. GAMBARDELLA: Do you want to do it now?

MR. BOYD: No, that's fine.

MS. GAMBARDELLA: Are you sure?

MR. BOYD: I just want you to follow through
with what you've got here. I don't want to be --

MS. GAMBARDELLA: Okay, all right, we will do
this and then we will break for lunch.

MR. BOYD: Thank you. I am sorry to
interrupt.

MS. GAMBARDELLA: No, please, don't say
that.

BY MS. GAMBARDELLA:
Q. The e-mail at the bottom which starts at 662

and the top of 663 is just your sort of sign-off. It

 

 
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is from you to Alex. Do you know when the PSP games
are going to be coming to me? Santa?
What were you talking about? Why were you

call him Santa?

A. I think --

Q. Don't guess. I am sure Patrick, Attorney
Boyd, does not want you to guess. Do your best. If
you don't remember. You don't remember. Guessing

doesn't do either one of us any good.

A. IToam sorry. What was the question? What are
the PSP games?

Q. Yes.

A. I believe PSP was one of our licensees and
they might have been sending me some games.

Q. Why are you calling him Santa?

A, I am being sarcastic because he is sending me
a gift, PSP games.

Q. This is a gift from Alex, right?

A. Well, I think it was a licensee that he
worked with. He had them send --

Q. And he was going to give them to you.

A, -- games to me, right.

Q. Right. And that's why you are calling him
Santa. He is giving you gifts, right?

A. Yes, it was a joke.

 

 
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Q. Don't tell me you have run out of food
favors.

And then I don't really care much about
this. We are just continuing with this stream.

And then you tell him only $36 in my
checking. Do you see that?

A. Yes.

Q. Why are you telling him that?

A, It looks like he is insinuating that I am
looking for food favors and I don't have money.

Q. But you tell him I only have $36 in my
checking, so my question to you is, Why are you
telling him that?

A. Io am not sure.

Q. And then he says, And how are you paying to
go to Cali?

Were you going to go to California for a
vacation or something around this time?

A. Yes, probably.

Q. And you say, With my good looks. Smiley
face. Right?

A. That's me once again appeasing him.

Q. Why didn't you just say, My parents are going
to pay for it?

A. Because then he would come back with a

 

 
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comment about -- you know, he had a comment for
everything.
Q. But don't you think this is a little

flirtatious? With my good locks?

A. Like I said, he would lead me down a path of
communication that I was not happy about. And it's
not something that I wanted to do. But to ease and

make my situation less stressful and less anxiety for
me --
Q. You flirted with him?
A. ~- I appeased him and played back.
Q. You flirted with him.
MR. BOYD: Objection.
MS. GAMBARDELLA: If she doesn't agree, she
can say she doesn't agree.
MR. BOYD: But you've asked the question at
least three times.
MS. GAMBARDELLA: Well, I am not getting an
answer.
MR. BOYD: That doesn't mean that you can
continue to ask forever.
MS. GAMBARDELLA: Yes, it does,
MR. BOYD: No, it doesn't.
MS. GAMBARDELLA: It means I can get an

answer, Mr. Boyd.

 

 
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MR. BOYD: And she has answered each time you
have asked it.
BY MS. GAMBARDELLA:
Q. Do you agree that's flirtatious?
MR. BOYD: Objection.
THE WITNESS: No.
BY MS. GAMBARDELLA:
Q. Do you think he as somebody reading it could
see it as flirtatious?
A. I think reading it he is flirting with me.
Q. You are not flirting back? With my good
looks? And that's when he says, I thought it was
girls only, smiley face.
MR. BOYD: Objection.
MS. GAMBARDELLA: I am just reading.
MR. BOYD: I know there is not a question on
the horizon.
MS. GAMBARDELLA: I didn't say there was.
MR. BOYD: Well, just reading it is not what
you are supposed to being doing at a deposition.
MS. GAMBARDELLA: Thank you. Another great
tip.
MR. BOYD: She can read it to herself.
BY MS. GAMBARDELLA:

Q. I take that as not exactly then --

 

 
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MR. BOYD: I will object again. If she wants
to ask questions, that's what we're here for and
my client is to answer.

MS. GAMBARDELLA: Mr. Boyd.

MR. BOYD: And this is on the record.

MS. GAMBARDELLA: Mr. Boyd.

MR. BOYD: Yes, ma'am.

MS. GAMBARDELLA: Your objection is noted.
You are being obstructionist now.

MR. BOYD: I am not being obstructive. I am
telling you that you need to ask a question.

MS. GAMBARDELLA: I heard you.

MR. BOYD: And so --

MS. GAMBARDELLA: We all heard you. We heard
you the first five times.

MR. BOYD: And I heard you the first six
times you asked the same question.

MS. GAMBARDELLA: I didn't ask a question.
Did I ask a question you're objecting to --

MR. BOYD: Are you flirting? Are you
flirting? Are you flirting? You've asked it at
least six times.

MS. GAMBARDELLA: I got your objection.

MR. BOYD: I understand. And now I am

objecting for a different reason, which is

 

 
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because you are not asking a question; you're
merely reading a document that is already there.
MS. GAMBARDELLA: Ioam not done with the
question; that's why.
MR. BOYD: Is there a question coming?
MS. GAMBARDELLA: Yeah.
MR. BOYD: Okay.
MS. GAMBARDELLA: You're done?
MR. BOYD: I am happy to hear when the
question comes, sure.
MS. GAMBARDELLA: Great, okay.
BY MS. GAMBARDELLA:

Q. Following through, I take that as not exactly
then. Then you say to him, Come on, you know better.
Then he says, I take it it's not exactly a girly trip
then? And you say, Never is.

Do you take that as flirtatious or no?

A. No, because --

Q. I didn't ask because.

A. Well, no.

Q. Is that flirtatious or not?

A. No.

Q. What do you mean by, Never is, in response

to, I take it it is not exactly a girly trip, then?

A. Because he would ask when I went -- because I

 

 
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travelled a lot personally, he would ask, Oh, did you
meet anybody? He would ask, you know, how many guys
did I meet.

He would ask me questions about my personal
life and who I met and who I was dating and how many
guys were there. And every detail about my life he
wanted to know.

And this is me being sarcastic that the fact
he said before that there is always guys around me.
So IT am throwing it back in his face that it's never
just me and girls. It's just me -- it was never me
and just girls. So I am throwing it back, basically
reiterating the fact that he has said to me, It's
never me and just girls. There's always guys around
me.

Q. Well, he is not asking you in this e-mail
stream how many guys you're hooking up with or
anything that specific, right?

A. Well, I am not saying that he is. I am just
Saying that -~-

Q. And he says, Whatever, just don't get hurt.
And you say: bc, because, I am precious. Smiley
face.

A. Right, that's me.

Q. Now, one aspect of your complaint is that he

 

 
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called you Precious, right?

A. Yes.

Q. But you are calling yourself precious to him
because I am precious, smiley face?

A. I am being sarcastic because I am making fun
of him, the fact that he calls me Precious. I mean,
when you read an e-mail, it's up to interpretation.

But between the me and him, he obviously
knows that I am kind of laughing at him because he has
the smiley face back. IT am making fun of the fact
that he is calling me Precious.

Q. Do you think making fun of him by saying
because I am precious would suggest to him that you
are offended by the use of that word?

A. Would it suggest to him?

Q. To him that you are offended.
A. I think, yeah.

Q. You think so?

A. Yeah.

MS. GAMBARDELLA: Okay, we break for lunch.
So what do you think you can do, 40 minutes?

MR. BOYD: You just have to tell me how far
-- FT mean, if it's guick, that's fine.

(Luncheon recess, during which D'Angelo

Exhibit No. 14 was marked for identification.)

 

 
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BY MS. GAMBARDELLA:

Q. Okay, looking at Exhibit 14, D 0317 and 318,
Ms. D'Angelo. And this is an e-mail from you to
Mr. Romer attaching pictures in September of 2005.
Look at the lovely girls of WWE. Do you see that?

A. Yes.

Q. I can't see who is in the picture. Do you
remember who is in the picture?

A. Yes.

Q. Who?

A. Myself, Bernadette Hawks, Jen Vogestat, and
Kat Kramer.

Q. And how about the photos on the second page?

A. It's probably the same people, plus like
other people that were at the party.

Q. What party was that?

A That was Jen's engagement party.

Q. Not a work function?

A No.

Q. Any particular reason you decided to forward

these to Mr. Romer?

A. I was, you know, just sending him a picture
of us and trying to get along with my boss and keep
the peace.

Q. Any particular reason why you just didn't

 

 
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forward the pictures, that you felt you should say,
Look at the lovely girls of WWE?

A. I mean, I was just making a comment. There
is some things I wish I, looking back, didn't say.

Q. Is this one of them?

A, Yeah, probably I regret saying that.

Q. Why? Why looking back is this something you
shouldn't have said?

A. Because I probably shouldn't have sent him a
picture of me, knowing the fact that he -- how he felt
towards me and how he often made comments about my
appearance and things like that, so --

Q. Do you think it was also not a good idea to

preface these pictures with, Look at the lovely girls

of WWE?
A. I don't really see any harm in writing that.
Q. You don't think that could be received as

encouraging him to look at the lovely girls, one of
whom is you?

A, It's just a picture.

Q. But you don't know why you just didn't send
the picture and say, Here is some photos from the
party? Why didn't you just do that?

A. I probably could have. I just didn't.

MS. GAMBARDELLA: 15.

 

 
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(Whereupon, D'Angelo Exhibit No. 15 was
marked for identification.)
BY MS. GAMBARDELLA:
Q. Have you had a chance to look at Exhibit 15,
which is an e-mail stream Bates stamped D 0303 through

309. Have you had an opportunity to look at that?

A. Yes.
Q. Okay. Now, these appear to be jokes and
images connected with the jokes that a Mr. -- I don't

know if it's Mr. or Ms. to be honest; Lee can be
either -- Lee Silverman sent you among other people in
February of '06, correct?

A. Yes.

QO. Okay. And then you forwarded them to Alex,
correct?

A. Yes.

Q. Why did you forward to Alex jokes?

A. It's just -- these are just trivial e-mails
that, you know, going back and forth, a lot of people
forward them around the office. It's just joking.
It's me joking with him.

Like I said, I tried to get along with him as
much as I possibly could for the sake of me keeping my
job and, you know, having the opportunity to still

work at WWE.

 

 
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I was trying to just -- I didn't want to seem
like a person that is, you know, not part of the team
or not fun to work with because otherwise I mean that
would make my job very difficult, if I was not, you
know, someone that he could get along with.

So here I am, you know, joking, sending an
e-mail just trying to get along with my boss so that I
could, you know, grow and succeed in my position.

QO. Well, am I correct that he would never know
you even got these jokes from Lee Silverman unless you
forwarded them to him, correct?

A. Yes, that is correct.

Q. So what is it about not forwarding these that
you contend would have created the perception you
weren't easy to get along with or fun?

A. Because if I was -- if all that I ever wanted
to do was just talk about work only, he would probably
perceive me as a stiff and not someone that he would

want to work with.

Q. Or promote, right?

A. Or promote, yeah.

Q. Or promote?

A. Yeah.

Q. Can you look at the last page, which is D

0309. What is that an image of?

 

 
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A. Io am not really sure.
Q. Let me help you out. A man putting his penis
in a mammogram machine. Would I be right?

A. It looks like that, yes.

Q. This is a sexual joke, isn't it? It has a
sexual image, doesn't it?

A. It's a stupid e-mail joke that gets passed
around from many people's e-mails from one person to
another. Io am not the only person that forwards
e-mail jokes like this to their boss.

Q. Ms. D'Angelo, I wasn't suggesting you were.
You weren't fired for sending this e-mail.

My question is: Do you agree with me that
the picture of a man with his penis in a mammogram
machine is a sexual image of somebody's body part,
private part? Yes or no?

A. It's a joke, yeah.

Q. With a sexual image in it, right?
A. Yes.
Q. Okay. Were you aware that you were including

this last page in the jokes that you forwarded to
Mr. Romer?

A. I don't really remember if I read the whole
joke or I just forwarded it.

Q. Were you aware that WWE had an e-mail policy

 

 
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which prohibited the forwarding of jokes, in
particular the ones with graphic or images like that,
at the time?

A. No.

Q. Okay, do you think forwarding jokes to your
boss in any way could suggest to him that you were not
upset with him or offended by him or upset by some of
the things that he said?

A. Like I said, I just forwarded this as a joke
to be -- to, you know, be viewed as funny and to have
a laugh with my boss.

Q. Is the bottom line, Ms. D'Angelo, that you
participated in the flirtation with him because you
figured as long as you did, you would have a good
career and he might promote you?

A. No. You often flirt with people that you
like and are interested in. And I had no physical or
sexual or any type of interest in Alex Romer, so I was

not flirting with him.

Q. I wasn't suggesting that.
A. You said I flirted with him.
Q. Okay, I will change the question. Is the

bottom line that you participated in the bantering
that you now claim offended you because you thought

that's how you would proceed in your career at WWE,

 

 
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that was the best way to get ahead?

A. I participated in the bantering so that I
would keep the peace and not have to deal with
additional stress from him about his feelings for me
and so that I could Just continue doing my job ona
daily basis and not have to hear the additional banter
from him of how great I am and how much he loves
having me work for him, the additional drama.

Q. And appeasing him or trying to get along with
him includes forwarding jokes to him that otherwise he
wouldn't even know you got, is that correct, because
you wanted to be fun?

A. I wanted to be viewed as a team player and
not some stiff person that is going to make a comment

of, oh, you offended me, you offended me on this.

This like -- that's not.
Q. T am not suggesting that.
A. Well, I am just saying it's the opposite of

what I was trying not to be.
MS. GAMBARDELLA: 16.
(Whereupon, D'Angelo Exhibit No. 16 was
marked for identification.)
BY MS. GAMBARDELLA:
Q. Okay, 16 is an e-mail stream Bates stamped

906, the last three digits. Defendant's 906.

 

 
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February 16, 2006. Down below it starts with Alex

asking you to give him gossip. And then you respond.
A. Or anything to make me smile.
Q. Um~-uh. And then you respond, Wow, it is

getting hot in there. I feel bad for you.

And the rest is irrelevant. And then he
responds. And then the last line, that is he needs to
laugh. Need lots of laughs to keep me going. It will
be a long day.

And then you say to him, Aw, that's good.

How are those cookies? Care to share some and make a
special delivery to my office with some treats?

What were you talking about?

A. I have no idea. I think he probably told me
that they got -- I think he was working on some big
presentation and they were in the boardroom for a long
period of time. And they got cookies because they
ordered food. So that's what I'm talking about those
cookies.

Q. Why would you invite Mr. Romer to your office
to make you a special delivery of treats?

A. It's just me once again --

Q. Trying to be fun.

A. -- making a joke, yeah. I mean, the fact of

the matter is, he was fired for sexual harassment.

 

 
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Q. That is correct.

A. It's not that -- this is not something, you

MR. BOYD: 17?
MS. GAMBARDELLA: Um-uh.
(Whereupon, Plaintiff's Exhibit No. 17 was
marked for identification.)
BY MS. GAMBARDELLA:
Q. Bates stamped D 0322 through 324.
Ms. D'Angelo, these are jokes, more jokes that you
forwarded to Mr. Romer, correct?
A. Yes.
Q. Okay. Do you remember where you got the
jokes from?
A. No, a lot of times people just forward jokes
throughout the office.
Q. Okay. On the second page there is a joke
about cigarettes and tampons, correct?
A. Yes.
Q. And did anybody compel you to forward these
to Mr. Romer?
A. No. Like I said, this is just a joke. Do I
wish I didn't do or say half the things that you are
showing me? Of course, but I was, you know, just

trying to keep things calm and not stir trouble

 

 
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between him and I so that I can continue working for
WWE and not have him kind of make this situation worse
by questioning me, What's wrong?
If I wasn't acting like a team player and

joking with him, I would get questioned, What's
wrong? Why do you have a attitude? And it would be a
constant interrogation. So by me like sending jokes
and just being silly, it made things smoother and less
stress for me.

Q. Ms. D'Angelo, at the end when you met with

HR, you brought them e-mails you had saved, correct?

A. Yes.
Q. You didn't bring them any of these, did you?
A. No, I didn't feel they were relevant.

Q. Right, okay.
(Whereupon, D'Angelo Exhibit No. 18 was
marked for identification.)
BY MS. GAMBARDELLA:
Q. We have marked Exhibit 18. It's Bates
stamped 00003019 of defendant's production. It is an

e-mail from Alex Romer January 30, 2006, to Danielle

Fisher. And it -- I am going to ask you first if you
have ever seen this before. This was produced to your
attorneys.

A. No.

 

 
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Q. All right, take a minute to take a look at

it, okay? And I am going to ask you some questions.

A, (Witness complying.)

Q. Have you ever seen this before?

A. No.

Q. This is not one of the documents that you

reviewed to prepare for today?

A. No.

Q. Okay. This document refers to a concern --
well, something about a tour -- let me go through it
again. Alex is telling Danielle that you may attract
the unwanted attention of one or two male talent. And
there is an e-mail to Donna:

Simply a reminder. We should emphasize to
our staff that professional boundaries should not be
crossed. His main concern was the perceptions of
others about Fara's professional ability.

Okay, is this e-mail authored around the time
where you were pulled away from talent? Do you
remember you described an incident to me. You said, I
was pulled by the neck.

MR. BOYD: Objection.

BY MS. GAMBARDELLA:
Q. Do you know what incident I am talking

about?

 

 
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A. I do, but I don't remember what -- when that
was.

Q. Okay, that's fair enough. You don't know ~-

A. And I don't have the dates, so --

Q. Was that the only time, the incident you
described to me earlier today, was that the only time
you had been told to get away from talent?

MR. BOYD: Objection.
THE WITNESS: I think yes, that's the only
time I can recall.
BY MS. GAMBARDELLA:

Q. Do you have any knowledge sitting here today
of the circumstances surrounding the generation of
this particular discussion between Alex and other
people at WWE around a perception they were concerned
about of you and talent? Do you have any idea of the
circumstances surrounding the reason this e-mail was
generated?

A. Well, it seems that Alex is trying to protect
me and -~- protect me from the talent. And I just
think oftentimes what he might have perceived as him
being protective of me from the talent was more of his
own jealous issues because the talent was paying me
attention and he obviously had feelings for me, so he

was jealous that the talent, you know, were spending

 

 
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time with me and it was kind of taking it away from

him. I am not sure.
Q. That's what you get from this?
A. Well, he was very jealous if the talent were

talking to me.

Q. Is that what you get from this document? Or
isn't he trying to protect your image in the company?
Isn't that what he is trying to do? If you disagree
with me, tell me.

A. Yeah, that's what it says here.

Q. That's what it says. Isn't it a fact that
Mr. Romer told you on more than one occasion that
management, not him, had gotten word that people were
trying to perceive you were cosying up too much to
talent at events? I am not suggesting it is true or
not true?

A. Okay.

Q. All I am asking you is this. Did he not, in
fact, tell you that Donna, John Laurinitis, maybe
others --

A. He told me that.

Q. ~- were concerned about that?

A. He told me that Donna was concerned about it,
yes.

Q. Was he lying?

 

 
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A, I didn't say that he was.

Q. I didn't say you did say. I am asking you
now, do you have any facts on which to base a belief
that Mr. Romer was lying that others in the
organization were becoming concerned about the

appearance that you were too close to talent at

events?

A. No.

Q. You have no basis to think that he was lying,
right?

A. No.

Q. Okay. So isn't it a fact that when he pulled
you away from talent at the incident you were talking
about, what he said to you was, You already have been
talked to about this?

And trust me, I am not suggesting that he had
any right to pull you by the neck, so let's leave that
aside. Isn't it a fact that when he pulled you out of
there, he said, Fara, you have already been talked to
about this; what are you doing, or words to that
effect?

A. Yeah, it's possible.

Q. Because he was worried you might get fired
for it, right?

A. He never told me that, that I was at risk of

 

 
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getting fired for it. He just said, you know --

Q. You have been talked to about this?

A. Yeah, I thought I told you not to, you know,
hang out with the talent. But like I said before, I

was not the only corporate person with the talent,

SO ~--
Q. I wasn't suggesting that at all.
A. I am just saying.
Q. I am focusing on you now. Not everybody sued
us. We are concerned here now with you, all right?
So what I am asking you is -- and I think you have
answered it already. I just want to make the record
clear. Aside from whatever other people were there,

when he pulled you out of that room, he said to you,
you have been spoken to about this, get away from the
talent or words to that effect, correct?

A. I don't remember those exact words but he did
tell me that I needed to leave the situation.

Q. Because people other than him had commented

you shouldn't be doing that, correct?

A. Yes, Donna specifically was who I was told.
Q. His boss?

A. Yes.

Q. Who could fire you if she wanted to?

A. Yes.

 

 
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Q. Right?

A. Yes.

MS. GAMBARDELLA: For the record, Bates stamp

D 0299 and 300 is Exhibit 19.

(Whereupon, D'Angelo Exhibit No. 19 was
marked for identification.)
BY MS. GAMBARDELLA:

Q. Let me know when you are ready. Okay? This
is an e-mail stream between you and Alex. And it
starts with a business-related conversation about gray
samples, okay?

And then going to the front page at the
bottom, there is one. It's June 2, 2005, 10:28 a.m.,
from you to Alex: I will probably have to retire
early, maybe at 32. Find me a rich one.
What did that mean?
MR. BOYD: Objection.
MS. GAMBARDELLA: Is there something you want
to point out to her?
MR. BOYD: No.
MS. GAMBARDELLA: Oh, I thought you were
reaching over. I'm sorry.
MR. BOYD: I was modestly concerned that she
was going to speak before I got in my objection.

MS. GAMBARDELLA: No, no, no, no, no, no.

 

 
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MR. BOYD: We don't have any double secret
hand signs.

MS. GAMBARDELLA: No, I though you wanted to
show her something.

MR. BOYD: I'm not that creative.

BY MS. GAMBARDELLA:

Q. June 2, 2005, 10:28 a.m. Fara D'Angelo to
Alex Romer: I will probably have to retire early,
maybe at 32. Find me a rich one.

What did you mean by that?

A. Find me a rich husband. That's a joke. And
then his response is, You can have anyone you want.
And he wrote that because he wrote, Told you you can
have anyone you want. That was right after he told me

that he would be willing to have a shag with me

anytime. I just needed to say the word. Shag meaning
have sex with him. It was at my discretion.
Q. The previous communications are about work.

And you say find me a rich one, right? You started
this conversation here, did you not?

A. No, he did.

Q. Where?

A. Well, it was about work. And then I guess I,
you know, didn't -- kind of forgot something so I made

a joke about Alzheimer's and my old age. And then he

 

 
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Said, Wait until you get to my dizzy height, meaning
his age.

Q. Right. And you say --

A. And then I am joking back. And then he
brings it to the sexual level because that was right
after he had pretty much said that he would have sex

with me whenever I wanted to.

Q. He brought it to the sexual level?

A. Yes, where he was saying, Told you you can
have anyone you want, dot dot dot. He is referring to
himself.

Q. Ms. D'Angelo, why did you start the

conversation about find me a rich one?

A. It was a joke.
Q. To which he responded to your joke?
A. Right. And like I said, I felt the need to

have a joking type relationship with him because that
was better and easier for me to have as opposed to
being someone that was very stiff and telling him
anytime that he said something he offended me because
that was not going to help make my job easier at WWE.
And I wanted to keep my job and I wanted to work
there,

Q. I got it.

A. So I sacrificed the way that I feel is the

 

 
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right way to communicate to my boss.

Q. Part of what you said offended you was him
calling you Precious, correct?

A. Yes.

Q. Did anybody else in your life call you

Precious?

A. No.

Q. Sure? Who is Gary Karantonis?

A. He is an ex-boyfriend.

Q. Did he call you Precious?

A. Yes, actually he did. You just reminded me.
Q. So would you like to change your answer? Did

anybody else ever call you Precious in your life?
A. Yes, he did.
Q. He did. So where did Alex get the idea to

call you Precious?

A. I have no idea.
Q. Is it because you told him?
A. No.

(Whereupon, D'Angelo Exhibit No. 20 was
marked for identification.)
BY MS. GAMBARDELLA:
Q. D 401517 through 1520. Part of what you
complained about is he called you 'Tinks as well,

correct?

 

 
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A. Yes.
Q. The e-mail at the top, which is the last one
in this stream, April 21, 2005, in response to Alex

telling you basically he had a bad day, you say, That

sounds rough, E-S-P -- I assume that means
especially -- the part about your Zippo. What is a
Zippo?

A. It's a lighter. Something happened to it.

Q. Well, be sure to get some rest because 'Tinks
is coming to town. Smiley face.

Who are you referring to by ‘Tinks?

A. Myself, because I am joking back with him.
Q. Again, right?

A. Yeah.

Q. You say you are joking back. What is the

joke in that e-mail stream that you are joking back
about?

A. I am being sarcastic because he calls me
that, so I was -- it's making fun of the fact that he
was calling me that.

Q. Were you offended by the use of the term dick
when he said his dick was on the line?

A. Yes.

Q. You're offended by that kind of thing?

A. Yes, I don't think that's the way that your

 

 
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boss should talk to you.
Q. Do you ever use -- did you ever use WWE

e-mail to have equally graphic conversations with

anybody else?

A. I don't think I did.
Q. Who is Chris Terranova?
A He worked at WWE.

Q. Did you ever e-mail him about somebody
putting out? I will show it to you.
MS. GAMBARDELLA: D 00000950 and 951.
(Whereupon, D'Angelo Exhibit No. 21 was
marked for identification.)
BY MS. GAMBARDELLA:
QO. Take a minute to look at this. And my first
question is going to be who you were talking about.

So with that in mind, go ahead and take a look.

A. (Witness complying.)
Q. Do you remember what you were talking about
when you said, Barely puts out. She is a prude. IT

don't think you will be pleased.

A. It's a girl that I was trying to set Chris up
with.

Q. Chris, a co-worker?

A. Right.

QO. And what do you mean she doesn't put out?

 

 
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A. That she is very conservative and --

Q. Won't have sex with him?

A. Well, not -- I wasn't really referring to
sex.

Q. You weren't?

A. No.

MS. GAMBARDELLA:
(Whereupon, D'Angelo Exhibit No. 22 was
marked for identification.)
BY MS. GAMBARDELLA:

Q. All right, D 000003000, an e-mail stream of
December 28 and 29, 2004, between Ms. D'Angelo. Who
is Alyssa?

A. Oh, one of my girlfriends.

Q. On the top, you say to her, Who is the
doctor? Will it be a sausage fest? What does that
mean?

A. Will it just be all guys.

QO. Sausage fest?

A. Yes, it's a slang word.

Q. Doesn't offend you, I guess?

A. No. There is a difference between that
and --

Q. I'm sorry. Did you ever talk like that to

Mr. Romer?

 

 
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A. Not that I recall.
Q. You could have, right? Did you ever talk to

him about going to sausage fests?

A. No, I don't think so.

Q. Picking up guys?

A. No, I don't think so.

QO. You don't think so, okay. Did you ever

accept gifts from Mr. Romer?
A. Yes, I did.
Q. What kind of gifts did you accept from

Mr. Romer?

A. He sent me gifts for Christmas. He sent me
financial -- he sent me money one time.

Q. You took it?

A. Yes. Well, I actually tried not to take it

and I told him I didn't want it, but he persisted and
kept telling me just take it, just take it. Sol
didn't know what to do, so I took it.

I told him originally I didn't want it, but
he kept -- he was very aggressive and persistent in

the way he was, so --

Q. Did you ever have sex with Mr. Romer?
A. No.
QO. Did you ever have any form of sexual contact

with him?

 

 
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A. No.

Q. Did he ever suggest to you that if you
didn't, he would fire you?

A. No.

Q. Okay, JI am sorry. Any other gifts? There
were books, correct?

A. Books, an Ipod, money. I think that's it.

Q. Did you ever not only thank him for the

gifts, but tell him how much you loved them?

A. I expressed gratitude for the gifts.

Q. I love it. Io got my gift. Absolutely love
it.

A. Yes, I don't see any harm in saying that.

Q. I didn't ask you --

A. This is just thanking someone for a gift.

Q. Did you generally engage in conversation back
and forth with Alex that you -- would say was not

work-related even if not sexually harassing? There
was a lot of back-and-forth banter, right?

A. Yes.

Q. Where he is asking you to send him gossip.
You are asking him for gossip?

A. Yes, the majority of the time he wanted to
talk about my personal life instead of talking about

work. And I on numerous occasions tried to change the

 

 
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subject and talk about work, but he always wanted to
talk about personal things.

Q. Ms. D'Angelo, my question was gossip in the
office, not about you. Did you talk to him about
gossip in the office that didn't have anything to do
with you?

A. Not that I remember.

Q. Have you reviewed all the e-mails that we

produced to your attorney in this case?

A. No.
Q. Have you reviewed any of them?
A. Just a handful.

MS. GAMBARDELLA: Just give me five minutes.
MR. BOYD: 23, is it?
(Whereupon, D'Angelo Exhibit No. 23 was
marked for identification.)
BY MS. GAMBARDELLA:

Q. Exhibit 23 is Bates D 300000836 and 837.
Ready?

A. Um-uh.

Q. Okay, the first one is April 20, '05. Alex
writes you: Standing here watching Batista doing an
interview with Sky Italia.

Do you remember where he was and where you

were when you got that e-mail?

 

 
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A. Let's see the date.

Q. April 20, '05.

A. I don't specifically remember. I could have
been at the office or I could have been on tour in a
different city.

Q. And you respond: Oh, my goodness. Does he
have his shirt on or off.

Why did you ask Alex that?

A. Just --
Q. The same thing?
A. ~- typical banter. Just a joke. Trying --

Q. Typical?

A. -- trying not to be -- I felt that if I
didn't kind of banter back with him like this, I would
be viewed as a stiff.

Q. What gave you the impression that writing to
you, Standing here and watching Batista doing an
interview with Sky Italia was to trigger a response

about a guy's shirt being on or off?

A. Because there was a reason why he was telling
me that.
Q. And what was the reason?

A. He would joke with me saying that I liked
Batista, so I was joking back.

Q. Okay, so you'd joke --

 

 
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A. Outside of the e-mail.

Q. And then he calls you a tart. And he says he
has a rather smart suit and shirt on. And you say:
LOL was a joke. Good visual, though.

Why did you say that? Why didn't you just
say it was a joke?

A. I did say it was a joke.

Q. Why didn't you stop there? is my question.
Why did you have to add, Good visual?

A. I mean, looking back on it now I wish I did,
but I didn't, so --

Q. Okay, no problem.

A. I was just trying to be a team player and fit
in with the relationship with my boss having a fun,
witty relationship.

MS. GAMBARDELLA:

(Whereupon, D'Angelo Exhibit No. 24 was
marked for identification.)

MS. GAMBARDELLA: You my as well do this too.

(Whereupon, D'Angelo Exhibit No. 25 was
marked for identification.)

MS. GAMBARDELLA: 24 is D 00000896 and 897.

25 is D 00000423 through 425.

BY MS. GAMBARDELLA:

Q. Okay, looking at Exhibit 24 -- and if you

 

 
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have to go through it again to answer the question,
feel free. When you say to Alex on February 9, 2006,
hah, I am playing the dramatic game that tends to work
here, what were you talking about? If you remember.

A. I think it had to do with just providing
detail to Donna about the document that she asked
for.

Q. What did you mean by playing the dramatic
game?

A. Just giving details, doing more work than was

required.

Q. That's what that means?
A. Yeah.
Q. And looking at 25, it looks like you're

forwarding more jokes to Alex, correct, on April 25,

2006; is that right?

A. Yes, this was --
Q. More of the same?
A. Yeah, just a joke, but the end is about

bugging you about he would make jokes to me about
getting married, so I was throwing it back at him.

QO. But for the fact that you forwarded them, he
would never know that you got them to begin with,
right?

A. Well, he wasn't reading my e-mails, no.

 

 
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Q. so that's your way of telling me that I am
correct. Correct?

A. Yes.

Q. And the last series of e-mails that we have

marked, you never showed those to HR either, did you,

when you said Alex was sexually harassing you?

A, Which e-mails are you talking about?
Q. Well, I am talking about the jokes that were
forwarded. I am talking about calling yourself

precious to him.

A. I don't really see jokes as sexual

harassment.

Q. I didn't ask you that. You didn't show HR
any of those e-mails, did you?

A. No, I didn't show HR that I forwarded him
jokes.

Q. Nor did you show HR that you called yourself
precious back to him or 'Tinks, correct?

A. Correct.

QO. Or any e-mails that said find me a rich one
or things about where you were going and whether it
was all girls or not all girls. You didn't show
really any of these e-mails, correct?

A. Correct.

Q. Now, I am going to leave e-mails now because

 

 
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this point in time?
A. I don't remember any details like that.
Q. Did you have any understanding of why he
couldn't get you promoted at the time?
A. No.

Q. Okay. And you didn't get promoted, I take

it. You never got promoted after March.
A. No.
Q. And did you get a pay raise in March?
A. No.

Q. Or early April?

A. No.

Q. And it was right after that, after this
e-mail stream, basically in April that you interviewed
at Sherwin Williams, correct?

A. Yes, right around the same time.

Q. All right. Ms. D'Angelo, we have already
established that you never complained to HR. And we
are going to ask you again about your fear of
retaliation. But the question I have for you now is,
do you contend that you complained to any member of
Management at WWE about being sexually harassed by
Mr. Romer?

A. I am sorry, can you repeat the question?

MS. GAMBARDELLA: Can you read it back?

 

 
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(Whereupon, the question was read back.)
THE WITNESS: I told a bunch of people that
were in management about what was going on.
BY MS. GAMBARDELLA:
Q. All right, tell me everybody in management
that you told what was going on.
A. I just need to make a list.
Q. Absolutely.
A. Cheryl Yamuder was a VP of legal. She knew
what was going on.
Q. Let's just start with the names and then we

will go back to each one.

A. Okay.

Q. Okay.

A. Mike Archer was management.

Q. Okay.

A. Joel Satin.

Q. Okay.

A. Curt Schneider.

Q. Okay.

A. Danielle.

QO. Well, you know what? Let me make that
clear. Before the end -- before the last -- before

the conversations with Danielle Fisher, she is HR.

A. Right.

 

 
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Q. So I am excluding obviously the last 10 days
that you were there.

A. Lisa Richards. Peter Clifford and I had a
conversation. I did not spell it out. I did not come
out and say Alex Romer is sexually harassing me, but

he understood.

Q. Let's just go through the names.

A. Sorry.

Q. Okay.

A. There was also some talent that had -- that

also I had conversations with.

Q. Talent?

A. Talent.

Q They are not managers of WWE, are they?

A. No.

Q Members of management of WWE.

A Okay. I think right now this is the list
that I am going to work with.

Q. Let me go backwards. Peter Clifford, when
did you have a conversation with him about Alex
harassing you? And you didn't have to use that word
exactly, but where you are complaining about Alex.
That might make it better.

A. It was at the time that I was interviewing

for the position with him.

 

 
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QO. Okay.

A. So it was -- I believe it was around November
or December of 2005.

Q. Tell me in as much detail as you can recall
what you said to him.

A. Well, after I interviewed with him, he had
told me that he had a conversation with Danielle
Fisher and she told him that it would not be a smart
move to take Fara from Alex. And she led him to
believe that.

Q. Let's stick with what you said to
Mr. Clifford and what he said to you exactly in as
much detail as you can recall.

A. I told Peter that Alex is very controlling
and does not -- would not be happy if he knew that I
was interviewing to leave from working with him.

Q. Go ahead. Iam sorry.

A. And he --

Q. Okay, so now I see. Is that the sum and
substance of your complaint about Alex to Mr.
Clifford?

A. Well, that's some of the detail that I told
him. And he agreed that he got the same feeling when
he spoke to HR about possibly pulling me into his

department.

 

 
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Q. Okay, so is that the substance of what you
told Mr. Clifford about Alex Romer?

A. Well, let me just back up.

Q. sure.
A. I told him that he was very possessive and
controlling and did not want me to leave. He wanted

me to work for him only and he would be very upset if
I left. And I don't remember the exact details, but I
did lead Peter to believe that I was not happy working
for Alex and I wanted to leave because of my

unhappiness and stress level that I was having working

for Alex.
Q. Okay. Anything else that you told Peter?
A. Right now, I think that's it.
Q. Okay, let's go to Lisa Richards. What was

her position at the time?

A. She worked for Peter. She was --

Q. She was a member of management?

A. Yes.

Q. And tell me when you had a conversation with
Lisa?

A. We had become friends.

Q. Tell me when you had the conversation with
Lisa?

A. Well, we had multiple conversations about

 

 
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Alex. She knew that he was very controlling. I
called him -- I referred to him as a stalker.

Q. I don't mean to interrupt you. I really
don't want to know what she, quote-unquote, knew. I

am really concentrating on conversations that you had
with her, all right?

A. Okay.

Q. So tell me if it makes it easier because it
might be hard for you to say, well, on such and such a
month or such and such a day. When was the first time
you think you ever had a conversation with Lisa
Richards about Alex Romer?

A. Sometime in 2005.

Q. Okay. And how many conversations do you
think you had with Lisa Richards about Alex Romer.

And I don't mean the fact that, you know, we had a

business meeting. I mean about facts that are
relevant to this suit. How many times?

A. How many conversations?

QO. Yes, just an estimate?

A. A lot.

Q. In as much detail as you can recall, tell me

all the things you told Lisa Richards about Alex Romer
that you categorize as complaints?

A. I mean, I would tell her how he would

 

 
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constantly call me and how he called me when he was
drunk and what some of the things he would say in IMs
to me.

Q. Tell me what you told her he said to you in
IMs.

A. I mean, I might have told her like some of
the comments that he made. He has made comments that
I look sexy in a karate suit. He has made comments
that I had nice legs in a picture that he saw.

I told her details of how my boss was talking
to me because I was looking for career advice from her
on how I could handle the situation. And I looked to
her because she was older than me and she had more
work experience. So I was kind of going to her for
some guidance.

And she -- that's when she started saying,
you know, maybe -- you know, she knew -- she
understood the situation to be not very healthy so
that's when she started saying, well, maybe you should
talk to Peter about a possible position in my
department.

Q. Okay. So you told her that he was calling
you sexy and talking about your legs?

A. Right. And like the names that he called me.

Q. "Tinks and Precious.

 

 
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A. Um-uh.

Q. Did you tell her that he was pressuring you
to sleep with him?

A. I might have.

Q. You don't have a specific recollection
today? If you don't, you don't?

A. I don't remember. I mean, I conveyed to him
that he was pretty much in love with me and that, you
know, we don't have this working professional
relationship that a typical manager and employee
have. We had something that was a little bit
different.

Q. Did she give you any advice other than

talking to Mr. Clifford?

A. No. She just said that, you know, just try
and -- because I was very upset about the whole thing,
so she was just trying to say -- you know, help me to

remain calm and just, you know, try and deflect him
when he tries to talk about personal stuff, just, you
know, try and deflect him to talk more about
business. And I was trying to do that, but it wasn't
getting me anywhere.
Q. Did you take notes of these conversations?
A. No.

Q. You took notes of other conversations, right?

 

 
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things down. It's not a trick question. Were there
occasions where you wrote things down after the fact
and then wrote a series of incidents all at once?

Would that be right?

A. I don't remember the time that I wrote the
notes.
Q. Okay, when is the first time you ever talked

to Cheryl Yamuder about Alex Romer's behavior?

A. Probably when she first started with WWE, I
became friends with her and started talking to her
about it from the beginning.

QO. When did she start; do you remember?

A. April, I think like, 2005. |

Q. Did you ever ask Cheryl Yamuder to give you
advice on how to get evidence against Alex Romer?

A. No, not evidence. I asked her for advice on
how I could handle the situation for the fact that my
boss was sexually harassing me. Like what can I do?

And she told me, she told me that based upon
her experiences, going to HR is not really going to
help you because they are not going to help the
Situation. And they could possibly use that against
you and then you will be out. You will be --

Q. You are testifying that Cheryl Yamuder

discouraged you from going to HR?

 

 
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these incidents. A lot of them she was there, so she
witnessed. So the notes are me jotting down the fact
that somebody else witnessed him and the way he was
towards me.

Q. So these don't reflect conversations you had
with her; they just reflect what you thought they
witnessed?

A. Well, some of it is a conversation because I
am quoting her exactly. She said, Oh, my God, it's
clear he is totally in love with you.

Q. When did she say that? Because I notice
these aren't dated at all.

A. Right. This was when she first joined in

April. The three of us went out to lunch. And she

made that comment after we went out to lunch. And she
said it's clear Alex is totally in love with you. You
can just see it from the way he looks at you. So this

comment she made was sometime in April of ‘05.

Q. But the notes also talk about Christmas party
'O5, March '05.

A. Right, it's a running log of what was going
on.

So when did you create these notes?

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A. I don't remember when I did.

Q. So it would be -- it would have to be at

 

 
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I am confusing you.

A. You are.

Q. That's what you mean by they didn't encourage
me.

A. Right.

Q. You said Cheryl Yamuder discouraged you, said
don't go.

A. Correct.

Q. Is there anything in here that is intended to

convey not only were you encouraged to go, but
somebody discouraged you from going?

A. No, I did not list the conversation that I
had with Cheryl here.

Q. Is there any particular reason why despite
all the detail in here and an allegation that you
weren't encouraged that you decided to leave out that

you were also discouraged?

A. No, I don't remember why I didn't put it in
there.

Q. Okay. Tell me what -- so we have gone
through -- you had conversations, ongoing

conversations with Lisa Richards about him, talking
about your legs and stuff like that, correct?
A. Right.

Q. How about Curt Schneider? When did you tell

 

 
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him you were being sexually harassed?

A. Oh, he witnessed it.

Q. When did you tell him you were being sexually
-- we will get to witnessed. When did you tell Curt
Schneider you were being sexually harassed?

A. I never came out and told Curt Schneider
using the exact words that I was sexually harassed.

Q. When did you convey to Curt Schneider in any
words the suggestion that you were being sexually
harassed even if you didn't use those exact words?

A. Well, we had conversations -- I don't
remember the exact time period -- that I was unhappy
in my current position and the reason why I was
unhappy is because Alex was obsessive and, you know,
pretty much infatuated with me.

Q. Your testimony is that you told Curt Alex was

infatuated with you?

A. I might not have used those exact words.
Q. I need to get as close as possible.
A. I don't remember exact words, but he knew I

was not happy in my position because of the
relationship I had with Alex.

QO. Isn't it a fact, Ms. D'Angelo, that the words
you used with Mr. Schneider were controlling?

A. Yes, probably.

 

 
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Q. You never used the word sexual to Curt, did
you?
A. I didn't feel I needed to.

Q. Okay, I didn't ask you that, really. We will

just go so much faster -- I know it's tough being in
that seat. Been there once and I didn't like it, so I
sympathize.

When did you ever tell Curt Schneider that

Mr. Romer was pressuring you to sleep with him?

A, Io never told him that.

Q. Did you ever tell Curt Schneider that you had
been touched in a way that was upsetting to you by
Mr. Romer?

A. I didn't have to tell him.

Q. Ms. D'Angelo, honest to God, we've got to
understand the rules here. I am not asking you why.
I am just asking factual questions. Did you tell him
you were touched?

A. No.

Q. Did you tell him that you were being flirted
with? We will get to what you say he witnessed.

A. Okay.

Q. You are really struggling because you don't
want to say I didn't because you are anxious to get to

what he -- we're going to get there. Trust me.

 

 
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A. I didn't need to tell him.

Q. Okay, so your answer is I didn't tell him I
was being sexually harassed. I didn't tell him that
he was touching me. I didn't tell him he was flirting
with me. Did you tell him he was calling you sexy or
precious or commenting about your body?

A. No.

Q. Did you tell him that you felt pressured to

participate in sexual banter in any way? And I am not

looking for exact words. Convey that impression.
A. No.
Q. All right, what is it you contend

Mr. Schneider witnessed that should have made him
conclude you were being sexually harassed? Now we are
going to get to the question you're dying for me to
ask,

A. He saw -- when I was on the Burope trip, he
witnessed how Alex was with me, always standing very
close to me, putting his arm around me. And then he
was there when Alex was pulling me and trying to get
me to sit back down at the table. And he made the
comment in the elevator, What's that about? because
he --

Q. Okay, so let's talk about that. How many

incidents like -- how many incidents do you contend

 

 
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Mr. Schneider witnessed like that?

A. Two.

Q. Okay. Let's talk about the first one. Where
was it and when was it?

A. The Europe trip in April.

Q. Of '05?

A. I think it was '0O6.

QO. "06, so toward the end of your employment?
A. Yes.

Q. Was that the first one?

A. I don't remember if he was on another

European trip.

Q. On that trip, he witnessed -- is that what
you just described to me? Were you guys in the hotel
bar or something?

A. Yes.

Q. And who was standing or sitting with you
all? It was you, Alex, Curt, and anybody else?

A. Joel. And then there was two guys from the
international office, Toby something. I don't know

his last name.

Q. Okay.
A. Kevin was also another guy from
international. And then this other guy, Jonathan

Sully, who worked in Alex's office. He waS a manager

 

 
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too.

Q. Tell me exactly what they witnessed in the
bar?

A. It was aggressive trying to pull me back down
when I said I am going to go up to my room and get in
the elevator with Joel and Curt.

Q What else? In the bar.

A. Aside from that?

Q Right.

A I mean, people saw how he was with me. It's
up to them to infer and see what they want to see or

what they really see.

Q. I understand that.
A. I am not sure what you are asking me.
Q. I am asking facts. What happened that you

contend they saw in the bar? We are starting in the
bar. We will get to the elevator. They saw him grab
you where?

A. On my wrist and pull me down.

Q. On your wrist and try to convince you to sit
back down.

A. Yes, across from the table as I was like
getting up.

Q. I got it.

A. Okay.

 

 
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Q. Did Mr. Romer say anything to you while he

was pulling your wrist to sit back down?

A. I don't remember exact words.
Q. But he said something?
A. Yes. I think it was to the fact of, Don't

go.
Q. Don't go, okay. And what else did they

witness in the bar?

A. They also witnessed that Alex was trying to
make sure that I had enough drinks, so, you know, make
-- wanting to make sure that I was drinking and being
part of the team.

Q. Well, they were all drinking too, right?

A. Right.

Q. Did he buy anybody else drinks?

A. Alex?

Q. Yes.

A. Not to my knowledge.

Q. You don't know whether or not he did, right?

A. No, I don't.

Q. Did other employees buy you drinks that
night?

A. I don't know. I don't remember.

Q. Was the company paying for the drinks?

A. I think so. I think that's how it worked.

 

 
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Q. Okay, what else did they see in the bar?
Joel and Curt, what else did they see in the bar?

A. Well, nothing else physically happened aside
from the pulling. So we were all just sitting there
and they saw -- Curt would often make comments to me.
Why or how can you work for Alex? And, you know,
trying to get me to talk more about it.

Q. And you wouldn't?

A. I didn't really want everybody to know.

QO. To know, right. So other than what they saw,
do you contend they heard Alex make any remarks to you
that should have conveyed to them that he was sexually
harassing you?

A, Io am sorry, can you repeat that?

MS. GAMBARDELLA: You can read it back.

(Whereupon, the question was read back.)

THE WITNESS: Correct, I didn't ~- I felt
that I did not need to put a label on it. It was
clear.

BY MS. GAMBARDELLA:

Q. Let's stop and let's go back. The question
is, sitting here today is it your claim that something
was said by Alex to you that they heard that should
have conveyed to them the impression you were being

sexually harassed?

 

 
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A. Yes, yes.

Q. What did he say that you contend they heard?

A. Him. It was more his action, him pulling me
down.

Q. Don't go?

A. Yes,

Q. Anything else?

A. At this point that's all I remember, what was
said.

Q. Well, this is the time to think about it.

A. Yeah, so --

Q. So there is nothing else that you can
remember sitting here today, correct?

A. Correct.

Q. Okay. Now, what happens is you get up from

the table anyway, right? Did you sit back down?

A. ft was pulled back down and I think I got back

up.

Q. And then you got immediately back up and then

you proceeded to leave the bar area?
A. Yes.
Q And where did you go?
A Into the elevator.
Q. And did Alex follow you?
A

Not into the elevator, but I think he

got up

 

 
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to --
Q.
up to fol
A.

Q.

A.
Q.

into the

Not think. Did you witness Mr. Romer getting
low you?

Yes, I saw him get up.

And how far did he follow you?

Close to the elevator.

But he didn't get in it?

No.

Did he touch you again after pulling you back
seat?

No, I had gotten away.

SO your answer is no, he didn't touch me,

No, he didn't touch me.

And who accompanied you or who also left the

table physically and went in your direction to the

elevator?

A.

Q.

Joel Satin and Curt Schneider.

Okay. SO you got up. Joel got up. Curt got

up. Alex got up. And you are all going toward the

elevator,

A.

Q.

right?
Yes.
Who got in the elevator?
Myself, Joel, and Curt.

Tell me all the conversation that happened in

 

 
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the elevator.

A. To my knowledge, I remember Joel and Curt
being very perplexed and --

Q. No, what did they Say, Ms. D'Angelo? I don't
want perplexed or I think. What did they Say to you
and what did you Say to them?

A. They said, What was that about?

Q. And what did you say?

A, I -- it's hard for me to remember exactly
what I said, but it was to the point of this is what I
have been dealing with.

Q. What else did you say?

A. That's Alex. This is how he acts.

Q. Right. In fact, Alex had a reputation for
being controlling with the people that reported to
him, didn't he? Didn't he?

A. I don't know.

QO Well, wasn't he called the stalker?

A. I called him the stalker.

QO You called him the Stalker?

A Yeah, that's what I referred to him as
because he would stalk me.

Q. Did you say anything else to them and did
they say anything else to you in that elevator?

A. Well, Curt and I had a conversation as we

 

 
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rode after Joel got off.

QO. Okay, well, that counts. Let's finish that
conversation and then I need to break because she
needs to go. What was the conversation --~

So did Joel get out of the elevator?

A. Yes.

Q. Was there any conversation that occurred in
addition while Joel was Still in that elevator?

A. Not that I remember.

Q. All right. SO now you and Curt are in the
elevator.

A. No, we --

Q. You got out?

A. We dropped Joel off on his floor. And then
we got to Curt's floor and we both stepped out onto

his floor and had a conversation.

Q. Okay, tell me about the conversation,
A, He was concerned about what he had just seen
and he --

Q. What did he say?

A. He said, Well, what's Alex doing touching you
like that?

Q. Um-uh.

A. And I don't remember My exact response, but T

told him this is what I have been going through. I

 

 
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know it's not right.

And he asked me, Well, what are you doing
about it? And I told him that I was looking for a new
job. And he gave me advice, saying, well, is it the
right job for you? And are you making the right
decision for your career?

And I told him that, you know, as much as I
don't want to leave WWE, I feel that this -- it's what
I have to do in order to get ahead in my career and
Succeed because working for Alex is not getting any
better and I am not going anywhere.

Q. So what he witnessed was him pulling you back
in the seat. Don't go. And then you had a
conversation in the elevator about this is what I have
been going through and it's not right.

A. Yes.

Q. Well, how is he Supposed to know that you are
talking about sexual versus just general overall

Stalking management style?

A. Well --
Q. How is he supposed to know?
A. It's common knowledge that a boss should not

be touching a female employee.
Q. Is that how he is Supposed to know?

A. Well, yeah.

 

 
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MS. GAMBARDELLA: Okay, let's take a quick
break.
(Briefly off the record, as a break is
taken.)
BY MS. GAMBARDELLA:
Q. All right, Ms, D'Angelo, can you refer to
Exhibit 27, which are some of your handwritten notes.
And on the bottom right are those Bates stamps. And

it's PO 443 to 445. And the top of 443 is Curt

Schneider. DO you see that?
A. Yes.
Q. Can you tell me when you created the notes

that are represented by 443, 444, 445, and 446?
A. I don't remember.
Q. Were they after the incidents occurred that

are portrayed in the notes?

A. Yes.
Q. Did somebody Suggest at some point that --
well, what I mean is after all the incidents. In

other words, did you go incident by incident or did
you wait until -- just do a running dialogue --
narrative, rather, after everything had occurred?

A. I am just -- well, some of the notes were
what happened on the trip in April so after that trip

happened, I jotted down those notes. So right after

 

 
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it happened.

Q. Okay. Did anybody Suggest you take notes at
this time?

A. Well, my boyfriend/husband now at the time
told me that I should write things down to remember
what was going on.

Q. Okay. Starting with 443, it Says Curt
Schneider would see him in Gym, talk about running.
He would tell me, Are you getting out of this place?
It's crazy here and your boss especially. AR is out
of his mind. You have to leave. You deserve better.
t agree with him and tell him I am trying. Right?

A. Yes.

Q. Then saw him in Europe November '05, Is that
the trip we just talked about, the bar, the elevator?
Oh, no --

A. No, because the elevator happened in '0O6.

Q. April '06.

A. So I had another conversation with Curt back
before April.

Q. Got it. Is this April '06 incident again the
First incident you claimed they witnessed that should
have conveyed to him that you were being sexually
harassed?

A, Curt? You are speaking only about Curt?

 

 
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Q. Yes.

A. No, Curt had seen me in November in Europe
with Alex, so that's --

QO. Well --

A. He'd just seen me. There was no -- nothing
that actually had happened.

Q. Okay, so there is nothing he witnessed?

A. Well, he saw how Alex was always so close to
me and he probably thought that was kind of weird. So
that's why he is saying your boss, you know, your boss
is crazy; he is out of his mind. Curt said that to
me,

Q. Isn't it true, Ms. D'Angelo, that the context
of that communication was that Romer had a reputation
of being a workaholic and thought nothing about
calling subordinates day and night? Isn't that the

context in which he was talking about Alex Romer being

crazy?
A. No.
Q. I mean, he is not the only WWE employee that

has ever said it's crazy around here, is he? This guy
says it to me every other day.

A. He is saying that Alex is out of his mind.
That's a little bit different. That's pretty --

Q. That suggests to you that he knows you are

 

 
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being sexually harassed, that your boss is out of his
mind?

A. Well, we had numerous conversations about me
leaving, trying to leave the company.

Q. Tell me one conversation you had with
Mr. Schneider where you told him you were being
pressured to have sex with Alex or touched sexually or
offended by how you were being touched, anything like
that.

A. Like I said, I did not have a conversation
stating that.

Q. That's what I thought, okay. This says in.
November '05 in Europe, he was talking to me again,
meaning Curt, correct?

A. Yes.

Q. About trying to leave the company and made a
comment to AR that I was going to go work for Curt.
So AR would get nervous the second he would see me
talking to Curt. That's the sum and substance of what
happened in November, '05, correct?

A. Yes.

Q. All right. Now, April '06 is the elevator
incident we just went through.

A. Right.

Q. Is that the first incident where you claim

 

 
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Mr. Schneider witnessed a physical touching between

you and Alex?

A. Yes.
Q. All right, so we already went through your
recollection of what happened. Starting on the next

page, Joel and Curt were leaving the bar so I was
going to leave with them because it was late. AR
bugged out, grabbed my arm. So don't leave. I pulled
away and said, I am going to go. I am tired. Is that
what happened?

A. Correct.

Q. All right. And then it's, Face turned red,

meaning Alex's, I take it?

A. Yes.

Q. T ran. Did you run?

A. Yes. I trust my writing.

Q. Into elevator with Joel and Curt. So these

notes were created much closer in time than what you
related to me today, correct, closer in time to the

actual events?

A. Yes.

Q. Joel -- what's the next word, something drop
off?

A. Joel was the first drop off.

Q. Where in your notes do you talk about any

 

 
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conversation that happened with Joel in that elevator

about Alex?

A. I am sorry, say that again.

Q. It says, Joel first drop off. What does that
mean?

A. We dropped Joel off first. Then --

Q. Where in your notes is your conversation with

Curt while Joel is in the elevator?

A. It says, Then me and Curt in elevator. I
told him I got job offer.

Q. Okay, so hold on a second. You told me
earlier that there was some conversation while Joel
was also in that elevator. Specifically, you told me
Curt said to you while Joel was in the elevator,
What's that all about? So is that not right?

A. No, that happened. I just did not write that
down.

Q. You didn't write that down. Then met Curt in
the elevator and told him I got a job offer. But it
doesn't say that Curt started the conversation by,
What was that all about? Right?

A. No. It says then me and Curt were in the
elevator.

Q. And I told him I got a job offer.

A. Correct.

 

 
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Q. I got an out.

A. Correct.

Q. What does the next line say?

A It says, Then got off at his floor,
meaning --

Q. Where is any reference to any other

conversation between you and Curt in that elevator?
A. There was no other conversation in the
elevator. I said that we got off on his floor and
then Jonathan Sully saw us talking, so that's when
Curt and I were having additional conversation.
Q. All right, where in your notes is the
reference to the conversation you had with Curt after

you and he stepped out of the elevator?

A. It's right here. It says: Jonathan Sully
Saw us talking on the floor. That's referring to the
conversation we were having. I was telling him about
the offer.

Q. Who is him?

A. Curt.

Q. I got it. And he was giving me advice.

A. Right. That I have to be happy. Is it a
good step for my career? That's exactly what he

Said.

Q. So is that the sum and substance of the

 

 
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conversation you had with Curt outside the elevator?

A. Yes.

Q. So these notes are accurate?

A. Yes.

Q. You didn't have any other conversation with

Curt outside that elevator, correct?

A. Correct.

Q. And then there was an incident with Alex that
was not witnessed by anybody, correct? You say
here --

A. Correct. It was just me and him.

Q. All right. Were there any other incidents
actually witnessed by Curt Schneider which you contend
should have conveyed to him that you were being
sexually harassed by Alex Romer?

A, Not aside from what we already talked about.

Q. Okay. What incidents other than what you
have already described do you contend Joel Satin
witnessed that should have conveyed to him you were
being sexually harassed by Alex Romer?

A. Other than what I described in the notes?

Q. Right. No, what you have already described
in your testimony.

A. Today.

QO. Yes.

 

 
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A. Well, there was an incident after, which I
think I already talked about.

QO. Which one?

A. Where Alex had his arm around me and I told
him, Don't touch me. And Joel was right there and he
saw.

Q. No, you didn't tell me about that at all.

A. Okay.

Q. Let's go there. Are we done with Curt?
Right?

A. Yes.

Q. So no conversations. We have gone through

all the incidents that he witnessed and conversations
surrounding those incidents, right?

A. Yes.

QO. Now, let's go to Joel. Other than the
incident where he was in the elevator for a short
period with you and saw what happened in the bar, tell
me all incidents Joel witnessed that should have
conveyed to him you were being sexually harassed? Do
you need to look at your notes in order to answer the
question?

A. Yes.

Q. So you don't have an independent recollection

sitting here today?

 

 
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A. Well, I do. I just want to make sure I
mentioned it in my notes. And IT am pretty sure I did.
Q. Got it.

A. Okay. So it is on the first page of --
Q. Use the bottom right numbers because that's

the best way to do it.

A. PO 441. This was an incident that I was

interviewing one of the wrestlers and Alex got upset.

Q. Oh. And this is the one where he pulled you
out?

A. Yes.

Q. By the neck and said get away?

A. No, that was -- this is he just kind of

pulled me away and told me he wanted to talk to me.
He did not want me talking to the talent. I was-
actually interviewing the talent for a project.

Q. And he just said don't talk to them?

A. Yeah, he wanted to talk to me. So he pulled

me away and I immediately told him you can talk to

me. Don't touch me. You don't need to touch me.

Q. Where was he touching you?

A. Like he had me like really close to his body
and --

QO. Where was he touching? Like in other words,

I know -- like around your shoulder with his arm and

 

 
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then he was pulling you out and so you were getting
close being pulled out?

A. Yes, yes, I was getting ~-

Q. Okay. Where was Joel physically when that
was happening?

A. Right behind us.

Q. And how do you know he saw the whole thing?
A. Because he walked right past us as I said
don't -- I screamed. I said, Don't touch me. And

then Joel walked right past us so he was behind us
when it happened. He was very close to us. And then
he obviously realized that we were fighting.

Q. Not obviously. What did he say to you, if
anything, to confirm for you that he heard what you
said?

A. Okay, I'll get to that. So he walked past
us. And then Alex and I were talking and got into a
bit of an argument. And then after that whole thing,
the three of us ended up going to dinner. And I
didn't say one word the entire dinner. And Joel said
to me, Are you okay?

And I just looked at him and I remember
holding back tears. And I ended up going to the
bathroom right after that. And I was crying. And I

came back and Joel just looked at me and was, you

 

 
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QO. Right.

A. And then I had a conversation with Joel one
night. It was after business hours but Joel was still
in the office. I was there and I was frustrated

because I had just gotten off the phone with Alex.
And I went to Joel because this was after the fact I
used to report to Joel so I felt let me go talk to
Joel how this is going on.

Q. Right.

A. It's not -- I feel uncomfortable about it.
Let me see if I can kind of get some guidance from my
old supervisor.

Se I told Joel that, you know, I am just very
frustrated with Alex. He is constantly asking about
my personal business and not wanting to talk about
work. I can't -- I feel like I can't get anything
done and he is just always prying into my personal
life.

And Joel said, Well, maybe you should kind of
threaten him, saying, you know, it's inappropriate
that he is talking to you like that and --

Q Like what?

A Asking about your personal life.
Q. About your personal life, um-uh.
A

Right. And that you should say, If you keep

 

 
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it up, then I will go to HR with that, you know, with
the fact that you are asking all these personal
questions and, you know, or whatever. so Joel was
kind of directing me that I should --

Q. Go to HR?

A. -- threaten to say that I would go to HR.

Q. Okay. Didn't that suggest to you that he
meant maybe you should go to HR if that didn't work?

A. Well, he didn't tell me I should go to HR
with what was going on.

Q. But he said threaten Alex. Tell him to knock
it off or I am going to HR.

A. Correct.

Q. And the sum and substance of what you told
Joel Alex was doing was asking personal questions?

A. Yeah, inappropriateness.

Q. Well, tell me what exactly you said. Did you
say he was always asking me personal guestions or did
you say he asks me about my sex life or -- did you say
anything like that?

A. I don't remember exactly what I said, but

Q. Does looking through your notes help you?

Feel free.

A. I don't know. I don't think I wrote that one

 

 
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down. But I did convey to Joel that I was
uncomfortable and upset with how -- the conversations
that were going on.

Q. Well, what did you tell him, Ms. D'Angelo? I
mean, this is really important. T am not trying to
badger you, but if you say he is asking me a lot of
personal questions, did you give him examples of the
personal questions?

A. He often asked me like who I was dating and

who I was sleeping with, so yeah, I probably did tell

Joel.
Q. Did you give --
A. I don't remember.
Q. No, not probably. A perfect answer. I don't

recall. Okay. Did you tell Mr. Satin that Mr. Romer
was complimenting your body?

A. I don't remember.

Q. Did you tell Mr. -- other than telling
Mr. Satin that you were being asked a lot of personal
questions, did you tell -- anything you remember
specifically today that you told Mr. Satin about Alex
Romer's behavior that was of any concern to you
whatsoever?

A, I don't remember the specifics of the

conversation.

 

 
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Q. Do you remember generally what you told him
besides what you already testified to?

A. Just the fact that I was unhappy with what
was going on.

Q. What was it that was going on that you were
unhappy with that you conveyed to Mr. Satin?

A. The personal questions.

Q. I don't know what everything means. If you
can't remember specifics, I don't know what you mean
by everything?

A. So that's what I am saying my answer is. I
don't remember the specifics.

Q. Thank you. That's perfectly fine. And
Mr. Satin said to tell him if he doesn't stop asking

you personal questions, I am going to HR, right?

A. No.
Q. Tell me again.
A. He said you should threaten Alex by saying

you will go to HR.

Q. You will go to HR. Okay, Mr. Archer. You

said Mr. Archer saw things or heard things or was told

things that should have conveyed to him that you were
being sexually harassed, correct?
A. He was told things.

Q. Okay, so he didn't witness any behavior?

 

 
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A. No.

Q. All right. Tell me everything Mr.
told that you contend should have conveyed t
you were being sexually harassed.

A. He -- his direct report, which was

Hawks, told him that she saw Alex touch me o

waist.

Q. How do you know that?

A. Because she told me that she went t
boss. And then he came to me and told me wh

Bernadette told me what she saw.
Q. And what did you say?
A. Well, I was embarrassed.
Q. No, what did you say? Not how did

What did you say?

A. I confirmed it, that it did happen.
Q And what else did you say?

A. I don't remember.

QO Wasn't it a fact, Mr. D'Angelo, Mr.

came to you because he heard this allegation
Ms. Hawks, who, by the way, was not a member
Management, correct?

A. She was higher up than me. I don't
her exact title.

Q. Okay, so you don't know that. So s

Archer was

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Bernadette

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something. She went to Mike. Mike came to you and

said what?

A. What's this that I hear that Alex touched

you?
Q. And you said?
A. I said yes, he did.
Q. Did you tell him where he touched you?
A. Yes.
Q. Or did he say he knew where he touched you?
A. I don't remember who told -- if he said it or

if I just said, yeah, it happened.

Q. Didn't he offer to do something about it?
A. He offered to punch Alex's lights out, were
the exact words. He was kind of jokingly acting like

a tough guy, like, you know, do you want me to punch
his lights out for you kind of thing.

Q. And what did you say?

A. I said no, I don't think that would be
necessary.

Q. Didn't Mr. Archer ask you if you wanted him
to do something about it? And I don't mean punch
Alex's lights out.

Did he say he wanted to help if you wanted
him to?

A. Yes, I think he said, Do you want me to talk

 

 
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to Alex for you?

QO. And you said, no, there was no problem to

worry about, right?
A. Well, that would have made my situation a

little bit more awkward.

Q. I am asking you what you said, not why you
said it or why you didn't say something. It's a very
simple question. Did you not ~- didn't you tell

Mr. Archer, no, I don't have a problem, don't worry
about it, or words to that effect?

A. I told him I did not want him to talk to Alex
about what had happened.

Q. Didn't you also tell him there is no
problem. Iam not having any problem. It's not a
problem or words to that effect?

A. No, I don't remember telling him I didn't
have a problem because we --

Q. Iam sorry.

A. -- we had a conversation that I expressed to
him I was unhappy with working there for Alex.

Q. Well, Ms. D'Angelo, do you have any idea why
Mr. Archer would bother to come to you, offer to help,
and then you only say, Don't talk to Alex. And then
what does he do? He just goes away and leaves it

alone, Is that what you are saying?

 

 
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A. Well, yeah. He didn't do anything else.

Q. I didn't ask you that. Isn't it a fact that
he came to you because he said, Do you need me to help
you? You said no, there is no problem to report or
words to that effect. Isn't that what you guys talked
about?

A. I told him that I did not want him to talk to
Alex. I did not say that there was no problem.
Because we had a conversation that I expressed there

was a problem that I was having with working for

Alex.
Q. When did that conversation occur?
A. During the same meeting.
Q. And what was the conversation with Mr. Archer

where you said you were having a problem with Alex?

A, I was telling him how Alex was treating me
constantly.
Q. You have to tell me specifically. What did

you tell Mr. Archer?

A. Constantly calling me, harassing me, stalking
me.

Q. Harassing you in what way? Did you say
sexual?

A. T don't remember if I used the exact word,
but I said -- I referred to him as a stalker. He is

 

 
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constantly --

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disorganized,

Stalking you?

Yes.

He is controlling?

Yes, obsessive with me.

Right. What else did you say?

I think that's it.

Did you complain that Alex was frustrating,

words to that effect?

A.
Q.
A.

Q.

No.
You said he was controlling and

Yes.

and could often not be tracked down or

obsessive?

Did you tell him that you were being

pressured to sleep with Mr. Romer, being

inappropriately?

A.

touched

Well, we talked about how he inappropriately

touched me --

Q.

A
Q.
A
Q

You mean --

-- in the back.

Right. Other than that?
That was it.

Didn't you also tell Mr. Archer

you didn't

want him to go any further not just with Alex but with

anybody else about you being touched around your

 

 
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waist?
A. I am sorry, can you repeat that?
Q. Is it a fact or is it not that you also told

Mr. Archer not only not to talk to Alex about it but
that it was nothing to tell anybody else about?

A. That never.

MR. BOYD: Objection. I'm sorry.
THE WITNESS: I never.

BY MS. GAMBARDELLA:

Q. Okay. When did Ms. Hawks witness this
incident where Alex put his arm around your waist?

A. It was after a licensing show in New York
City, so it was in the month of June.

Q. Of '05?

A. It was either '05 or '0O4. I can't recall.

Q. Well, after Mr. Archer offered to do
something for you, whatever that something was, why
didn't you go back to him later and tell him, I need
to talk to you about something else that's going on or
I am being harassed or he is touching me or he is
flirting or whatever? Why didn't you go back to
Mr. Archer?

A. Because I was afraid that I would -- by, you
know, approaching the subject, I was afraid that I

would lose my job. So if I had Mike Archer or anybody

 

 
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say something to Alex, number one, it would have made
my working relationship with Alex even more horrible
than it already was. And I feared of the fact that I
would have been fired because of the fact that I was
saying my boss was sexually harassing me.

Q. That's it? You didn't utilize Mr. Archer at

all or Mr. Schneider or Mr. Satin, correct?

A. I am not sure how you mean utilize them.
Q. Go back and say, I do want to talk to you
about something. I am being offended or upset or

harassed.

A. Well, we had already had conversations. I
didn't go back a second time and have more to tell.

Q. Ms. D'Angelo, you haven't told me one
conversation with Mr. Schneider or Mr. Satin where you
told them you were being sexually harassed or words to
that effect?

MR. BOYD: Objection?
BY MS. GAMBARDELLA:

Q. So which is it? That you told him you were
being sexually harassed in words or substance or you
did not?

A. Well, Curt --

MR. BOYD: Objection again.

THE WITNESS: Curt Schneider witnessed it.

 

 
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BY MS. GAMBARDELLA:
Q. TI heard that part.
A. I did not need to tell him specifically.
Q. So you didn't tell him, right?
MR. BOYD: Objection.

BY MS. GAMBARDELLA:

Q. You didn't tell him, correct?
A. I did not say the exact words.
Q. You didn't even say words like that. Your

claim is that based on what he witnessed, which you
have gone through in detail, he should have known.
A. What he saw was enough to realize that sexual

harassment doesn't take a --

Q. Got it. I got it. Now, let's go to Cheryl
Yamuder. You were friends with her, correct?

A. Correct.

Q. And when she first started, you said she said

something like he is totally in love with you.

A. That is correct.

Q. And that you told her what? Did you say
anything to her when she said -- the three of us went
out to lunch. And she said, Oh, my God. It's clear
he is totally in love with you.

Did you say anything back to her?

MR. BOYD: Could you just steer us to the

 

 
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obsessed with me and constantly calling. I gave her

some details of what was going on. So then when she

saw how he interacted with me, that's what led her to
make that comment.

Q. XMAS party ‘05. Was in car with Cheryl going
to party. AR called my cell. It was 6:30 P, USA
time, so by 11:30 midnight in England. He was calling
me when he was drunk just to say hi. Cheryl was like,
Why is he calling you? And what did you say?

A. Because he typically calls me when he is
drunk to talk.

Q. Okay.

A. I told her that was not the first time that
he calls me when he is drunk.

Q. And March '05, which you say should be '06?

A. Yes.
Q. I was interviewing. Told Alex my car broke
down on the way to work. AR was calling Cheryl

flipping out because he suspected I was interviewing.
She called me to tell me he is going nuts on her and

asked her to find out so she had to cover?

A. Correct.
Q. For me because she knows I was interviewing
and how I was trying to leave. I would go hang in her

office to get away from AR in the --

 

 
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A. As he was stalking me.
Q. His IMs, constant calling, and e-mailing. He
would call Cheryl looking to have me paged. Is that

what Cheryl knew, the sum and substance of what Cheryl

knew?
A. Yes.
Q. And you agree there is nothing in these notes

that said Cheryl told you don't go to HR, it's no
use? Or I am sorry. I forget what you told me.

A. It's not going to get you anywhere. I did --
right, I did not write that down.

Q. Did you have any reporting relationship with

Cheryl Yamuder?

A. Reporting meaning did I report to her?

QO. Yes.

A. No.

Q. Isn't it a fact that you didn't even complain

to HR at the end; they reached out to you?
MR. BOYD: Objection.
BY MS. GAMBARDELLA:
Q. The first conversation you had -- I will
withdraw it.
The first conversation you had with human
resources, they reached out to you because they heard

you were about to resign. Is that right or not right?

 

 
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A. They heard I did resign. And that's, that's
when they heard. Because I resigned first and then I
presented all the information and I came out with what
had happened.

Q. Okay. Do you know how HR heard that your
resignation had anything to do with Alex?

A. I am assuming through Donna.

Q. Please don't assume. Tell me if you know.
And if you don't know, that's a perfectly acceptable
answer. Do you know how HR found out your resignation
had something to do with Alex?

A. I don't know.

Q. ° Okay. So when you handed your resignation,

you said nothing to HR about these things, correct?

A. I did not have a chance to.
Q. You didn't have a chance?
A. No, because when I resigned, Cheryl --

actually when I resigned, I sent the resignation
letter to Alex and Donna. Alex was I think on the
phone with Cheryl when it happened. And then Cheryl
got off the phone with Alex and went down to Donna and
told her about the sexual harassment that I had been
telling her about.

Q. And then who called you from HR?

A. I don't remember.

 

 
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Q. But you met with Danielle Fisher, correct?
A. Yes.
Q. Did you say to Danielle Fisher you were not

going to report it until you resigned because you were
asked why you had never reported it? Let me withdraw
it.
Did Danielle ask you why you had never

reported it?

A. I don't remember if she asked me that.

Q. Did you tell Danielle Fisher while she was
interviewing you about these incidents that your claim

that Joel, Mike, and Curt knew about it?

A. I don't really remember the specifics of what
I told her when I resigned. I was very emotional that
day and as that -- all of that was unfolding so it's

kind of a little bit foggy.

Q. The fact is, you never told anybody during
those last two days, those few days, that Joel, Curt,
or Mike witnessed anything, correct?

A. I told HR because I did have a deposition

when I resigned.

Q. You had a deposition?
A. Well --
This is a deposition. You had one of these?

Q
A. I don't know what -- they called it a

 

 
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deposition.

Q. An interview?

A. I sat down with Ed Kaufman, who was general
counsel.

Q. You had an interview.

A. Right. And they took notes and I gave them
the details of the ~- of some of the things that
happened.

Q. And it's your contention that you told them

that Joel, Curt, and Mike knew you were being
harassed.

A. I don't remember if I told them at that
interview about those people.

Q. Did you ever tell them before you left WWE
that people knew about it?

A. I remember telling -- at the interview
telling them of what had happened in April where Curt
saw and Joel saw the incidents, so I remember those
two specifically.

Q. Did you tell them what Cheryl knew?

a

No, I didn't.
Why?
She had already told HR what had happened.

How do you know that?

PrP OO PY 0

Because she told Donna and then Donna told

 

 
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HR, so she was the one that came --

Q. Ms. D'Angelo --

A. -- and gave all the information.

Q. Ms. D'Angelo, your claim now is that Cheryl
told HR before you got into HR that you were sexually
harassed by Alex Romer and that she had known it all
along?

A. I don't know if she told them that she had
known it all along, but she told Donna that I was --
that this was sexual harassment that has been going
on.

Q. Right. But you don't know whether she told
Donna she had known about it before, correct?

A. No, I don't know.

Q. My question to you is, did you tell human
resources that Cheryl Yamuder knew about you being
sexually harassed before you resigned?

A. No.

Q. And how long after you tendered your
resignation did you find out that Alex Romer had been
fired?

A. It was within a week. I resigned on the 5th,
May Sth, and I know that they brought him to the
office shortly after that and he was fired within a

day. So it was a couple of days after I resigned that

 

 

 
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Q. All right. Now, it starts with, One night I
was working late and Joel was still in office. I was
frustrated because AR was still calling me.

And just let me know if I am not reading it
right, okay?

A. Um-uh.

Q. It as after 6:30, so after midnight --

A. His time.

Q. -- his time. So when you say he called you
late, sometimes you are referring to late overseas,

correct?

A. Yes, but he called me late my time also.
Q. His time. And he was just calling me to say
hi. I went to Joel because I was frustrated how I

stayed after work to get things done, but he continues
to bother me.
And that's something you told Joel?

A. Yes, that he continues to bother me and ask
personal questions while I was trying to work.

Q. While I was trying to work, ask me personal
questions while I was trying to work. Is that the
same conversation we were talking about earlier when
you said, I told Joel he asked me a lot of personal
questions?

A. Yes.

 

 
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Q. So what happened was he asked me personal
questions while I am trying to work.

A. Right. And I said I was frustrated not
because I was working late but because Alex was still
calling me and it was 6:30 and I had set time aside
after work so I could get my work done.

Q. Right. And he was still pestering you with
other work.

A. Right. He wanted to call and chat about who
Io am going out with tonight for drinks.

Q. Well, it doesn't say that, right?

A, No, I am giving you an example.

Q. Joel told me I should threaten AR by saying I
don't think that's something HR would approve of, you

asking me --~

A. AR, Alex Romer.

Q ‘Okay, now, what does that last line say?

A. If you keep this up, I will go to HR.

Q Joel said, Do you want me to talk to AR? So

Joel offered to talk to Alex.

A. Right.

Q. I thought that would make my situation worse
and was afraid it definitely would, so I told Joel I
would talk to Alex.

A. Right.

 

 
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Q. And as far as you and Joel talked about
leading up to Joel saying, I will talk to Alex, was
you said he keeps calling me. I am trying to work to
get things done. He is pestering me or asking me
personal questions while I am trying to work.

A. Correct.

Q. Okay, that's that. We had you submit early
in the case names of people who you contend have
information that is relevant. And basically I think I
know about everybody, but there is one I want to ask

you about. Barry Knight of Proctor & Knight.

A. Right.
Q. What does he know?
A. He was one of the security guards that I was

talking about, the international --
Q. International.

A. An outside vendor that WWE hires for security

on the overseas trips.

Q. Proctor & Knight is the vendor, right?
A. Correct.

Q. So he is an outside vendor?

A. Yes.

Q. All right, I have got that?

MS. GAMBARDELLA: I have two more exhibits.

And this one --

 

 
